                                                                                                                   Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 1 of 58




                                                                                                             1 Elizabeth Berke-Dreyfuss (Bar No. 114651)
                                                                                                               WENDEL, ROSEN, BLACK & DEAN LLP
                                                                                                             2 1111 Broadway, 24th Floor
                                                                                                               Oakland, California 94607-4036
                                                                                                             3 Telephone: (510) 834-6600
                                                                                                               Fax: (510) 834-1928
                                                                                                             4 Email: edreyfuss@wendel.com

                                                                                                             5 Attorneys for Susan L. Uecker, Receiver

                                                                                                             6

                                                                                                             7                              UNITED STATES DISTRICT COURT

                                                                                                             8                           NORTHERN DISTRICT OF CALIFORNIA

                                                                                                             9                                 SAN FRANCISCO DIVISION

                                                                                                            10

                                                                                                            11 SECURITIES AND EXCHANGE                      Case No. 3:17-CV-00223-RS
                                                                                                               COMMISSION,
Wendel, Rosen, Black & Dean LLP




                                                                                                            12            Plaintiff,
                                                                    O akland, Ca lif or ni a 946 07-4 036




                                                                                                            13
                                  1111 Bro adw ay, 24 t h F lo or




                                                                                                                       vs.
                                                                                                            14 SAN FRANCISCO REGIONAL CENTER, LLC;

                                                                                                            15 THOMAS     M. HENDERSON; CALIFORNIA
                                                                                                               GOLD MEDAL, L.P.; CALLSOCKET, L.P.;          STANDARDIZED FUND ACCOUNTING
                                                                                                            16 CALLSOCKET     II, L.P.; CALLSOCKET III,     REPORT FOR CONSOLIDATED SEC VS.
                                                                                                               L.P.; COMPREHENSIVE CARE OF                  SFRC RECEIVERSHIP ENTITIES FOR
                                                                                                            17 OAKLAND,    L.P.; NA3PL, L.P.; WEST          REPORTING PERIOD: JULY 1, 2017 TO
                                                                                                               OAKLAND PLAZA, L.P.; CALLSOCKET,             SEPTEMBER 30, 2017
                                                                                                            18 LLC;   CALLSOCKET II, LLC; CALLSOCKET
                                                                                                               III, LLC; COMPREHENSIVE CARE OF
                                                                                                            19 CALIFORNIA,    LLC; IMMEDIA, LLC; and
                                                                                                               NORTH AMERICA 3PL, LLC,
                                                                                                            20                Defendants,
                                                                                                            21                -and-
                                                                                                            22 CALLSOCKET HOLDING COMPANY, LLC;
                                                                                                               CALLSOCKET III HOLDING COMPANY,
                                                                                                            23 LLC; BERKELEY HEALTHCARE
                                                                                                               DYNAMICS, LLC; CENTRAL CALIFORNIA
                                                                                                            24 FARMS, LLC; and JL GATEWAY, LLC,

                                                                                                            25                Relief Defendants.
                                                                                                            26

                                                                                                            27

                                                                                                            28


    009589.0024\4888220.1
                                                                                                                 STANDARDIZED FUND ACCOUNTING REPORT                                    3:17-CV-00223-RS
                Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 2 of 58
             STANDARDIZED FUND ACCOUNTTNG REPORT for Consolidated sEC vs. SFRC Receivership Entities'cash
                                                                                                          Basis
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                       Period       1to            30 ?017


         ACCOUNTING
                                                                                                                         Subtotal          Grand Total     Reference
    ,|
                             Balance (As of July '1,20171                                                                                  44,265,756.64       I

                             in Fund Balance:
 ne2          Business lncome                                                                          6,153,976.61      6,153,976.61
    3               and Securities                                                                     3,338,444.16      3,338,444.16
    4         lnteresUDividend lncome                                                                      27,730.31         27,730.3',1
Line 5        Business Asset Llquidation                                                               1,497,500.00      1,497,500.00
Line 6        Personal Asset Liquidation
Line 7                    Lltigation lncome
Line 8        Miscellaneous - Other                                                                        5,639.78           5,639.78
                Total Funds Available (Lines 1 - 8):                                                  11,023,290.86     1't,023,290.86     55,289,047.50

              Decreases in Fund Balance:
     9        Disbursements to lnvestors
     {0       Disbursements for Receivership Operations
    10a       Disbursements to Receiver or Other Professionals
    10b                  Assef Expenses                                                                5,339,237.27      5,339,237.27
    10c                  Assel Expenses
    10d                    Expenses                                                                    2,191,870.08      2,191,870.08
    10e       Third-Party Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses
               Total
    10f       Tax Administrator Fees and Bonds
    1og              and State Tax Payments
                Total                                   for                                            7      1          7      1


     11                              for Distribution Expenses Paid by the Fund:
    11a           Distribution Plan Development Expenses:
                   1. Fees:
                          Fund Administrator... ... ... ... ... ... ......... .
                          lndependent Distribution Consultant (lDC)...
                          Distribution Agent. .. ... ... ... ...
                          Consultants... ... .
                          Legal Advisers...
                          Tax Advisers... ..
                   2. Administrative Expenses
                   3. Miscellaneous


     11b          Di   stib ution   Pla   n   Im   ple me ntation Ex pe      n se s   :
                   1. Fees:
                           Fund Administrator... ...            ..
                           tDc.. ... ... ..
                           Distribution Agent...............
                          Consultants... ...        .


                          Legal Advisers...
                          Tax Advisers... ..
                   2. Administrative Expenses
                   3. lnvestor ldentification:
                          Notice/Publishing Approved P|an...........................
                          Claimant ldentification... ...
                          Claims ProcessinS.......... ..........
                          Web Site Maintenance/Call Center.........................
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution (FAIR)
                   Reporting Expenses

                                                              Distribution                Paid        the Fund
     12       Disbursements to CourUOther:
    12a          I nve stme nt Ex pe n se s/Co u tt Reg istry I nve stme nt

              Sysfem (CR/S) Fees
     12b         Federal Tax Payments
               Total Disbursements to CourUCA Gold Medal                                                   15,000.00         15,000.00                         2
               Total Funds Disbursed (Lines 9 - 11):                                                       15,000.00         '15,000.00     7,546,107.35
     13       Ending Balance (As of September 30, 2017):                                                                                   4rJ42,940.15

    14a           Cash & Cash Equivalents                                                             47,742,940.'.t5   47,742,940.15
                                                                                                 1.                                                                7   /30/08
               Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 3 of 58
       14b      lnvestments
Line 14c       OfherAssefs or Uncleared Funds
              Total Endlng Balance of Fund - Net Assets                                         47,742,940.15      47,742p40.15


OTHER SUPPLEMENTAL INFORMATION:


                         of ftems   NOT To Be Paid bY the Fund:

       15                  for Plan Administration Expenses Not Paid by the Fund
       15a      Ptan DevelopmentExpenses Not Paid bythe Fund:
                 't. Fees:
                          Fund Administrator...      . .   .   ... ... ... ... ...   .


                          toc..................
                          Disfibution A9en1......................
                          Consultants.......
                          Legal Advisers...
                          Tax Advisers... ..
                  2. Administrative Expenses
                  3. Miscellaneous


       15b      Plan lmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                          Fund Administrator... ... ... ... ... ... ..
                          tDc......... ........
                          Distribution Agent... ... ...          .   ..   ...
                          Consultants... ... .
                          Legal Advisers...
                          Tax Advisers... ..
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                          Notice/Publishing Approved Plan... ... ... ... ......... ......
                          Claimant ldentifi cation......
                          Claims ProcessinS
                          Web Site Maintenance/Call Center.....
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses

       1*        Tax Administntor Fees & Bonds Not Paid by the Fund


Line t6      Disbursements to CourUOther Not Paid by the Fund:
       16a           stme nt ExpenseVCR/S Fees
                 I nve

       16b       Federal Tax Payments


Line   l7    DC & State Tax

Line t8      No. of Claims:
       18a      # of Claims Received This Reporting Peiod..... ... ... .....
       18b      # of Claims Received Since lnception of Fund.............,
       t9    No. of Claimants/lnvestors:
       19a      # of Claimants/lnvestors Paid This Repofting Peiod.....
       19b      # of Claimants/lnvestors Paid Since           of Fund......-....



       Ref
        #                                         Item                                             Amount         Corresponding Notes
                                                                                                                  lncludes Central Escrow Funds held by the
                                                                                                                  Receivership, as detailed on the balance sheets for
                                                                                                                  CS LP, CA Gold Medal, and NA3PL also included
1            Beginning Balance (As of July 1,2017)                                               16,846,531.69

2            Total Disbursements to CourUCA Gold Medal                                                 15,000.00 Transfer from Call Socket ll to CA Gold Medal




                                                                                                                                                 ?        J/1^-

                                                                                                          /o   // c /ra
                                                                                                Dale




                                                                                            2                                                                 7   /30/08
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 4 of 58
             STANDARDIZED FUND ACCOUNTTNG REPORT for call socket LP Receivership-cash Basis
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                      Period: J    1to                 2017


FUND ACCOUNTING
                                                                                 Detail        Subtotal      Grand Total
Line   1     Beginning Balance (As of July '|',20171                                                            775,079.65

              Increases in Fund Balance:
 ne2          Business lncome                                                   121,297.24      121,297.24
       3     Cash and Securities-Sec Dep Refundffwitter                          891,833.67     891,833.67
 ne 4        lnteresUDividend lncome                                                 771.88         771.88
       5     Business Asset Liquidation                                        1,497,500.00   1,497,500.00
       6     Personal Asset Liquidation
       7     Third-Party Litigation lncome
       I     Miscellaneous - Other
               Total Funds Available (Lines 1 - 8):                            2,511,402.79   2,511,402.79     3,286,482.44

              Decreases in Fund Balance:
Line   9      Disbursements to lnvestors
Line   10     Disbursements for Receivership Operations
Line   10a    Disbursements to Receiver or Other Professionals
Line   10b    Eusrness Assef Expenses                                           406,514.07     406,514.07
Line   10c    Personal Asset Expenses
Line   10d                   Expenses-Transfer to CS            ll             2,189,000.00   2,189,000.00
Line   10e    Th i rd-Parly Litig ation Ex pe n se s
                    1. Attorney Fees
                    2. Litigation Expenses


Line 1U       Tax Administrator Fees and Bonds
Line 109      Federal and State Tax Payments
                                                                                              2 595 514 07
Line   11     Disbursements for Distribution Expenses Paid by the Fund:
       11a       Distibution Plan Development Expenses:
                   1. Fees:
                        Fund Administrator. .. .. . ... . .. ... ...
                        lndependent Distribution Consultant (lDC)...........
                        Distribution Agent..............
                        Consultants......
                        Legal Advisers..
                        Tax Advisers.. . .
                   2. Administrative Expenses
                   3. Miscellaneous


Line 1lb          Distribution Plan lmplementation Expenses:
                   1. Fees:
                        Fund Administrator... ....
                        tDc....
                        Distribution Agent..   ..   .. ... ..
                        Consultants................
                        Legal Advisers..
                        Tax Advisers.. .   .



                   2. Administrative Expenses
                   3. lnvestor ldentifi cation:
                        Notice/Publishing Approved Plan.
                        Claimant ldentification...............
                        Claims Processing..... ................
                        Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution
                   (FAIR) Reporting Expenses

                Total Disbursements for
Line 12       Disbursements to CourUOther:
       12a       I nve stme nt Ex pe n se s/Cou rt Reg i stry I nve stment

              Syslem (CR/S) Fees
       12b       Federal Tax Payments
            Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 5 of 58
               Total Disbursements to CourUOther:
               Total Funds Disbursed (Lines 9 - 1 1):                           2,595,514.07   2,595,514.07    2,595,514.07

Line 13       Ending Balance (As of September 30, 2017):
Line 14       @Assets:                                                           690,968.37      690,968.37
Line 14a        Cash & Cash Equivalents
Line 14b         lnvestments
Line 14c        OlherAssefs or Uncleared Funds
               Total Ending Balance of Fund - Net Assets                         690,968.37      690,968.37      690,968.37


           SUPPLEMENTAL INFORMATION:
                                                                                                 Subtotal     Grand Total
              Report of ltems IVOf           Io   Be Paid by the Fund:
     15       Disbursements for Plan Administration Expenses Not Paid by the Fund:
     15a           Plan Development Expenses Not Paid by the Fund:
                    1. Fees:
                           Fund Administrator..................
                           rDc....   .



                           Distribution Agent... ... ... ...
                           Consultants... ...
                           Legal Advisers..
                           Tax Advisers.. . .
                    2. Administrative Expenses
                    3. Miscellaneous
                                                                         Fund
Line 15b           Plan lmplementation Expenses Not Paid by the Fund:
                    1. Fees:
                           Fund Administrator.........         .


                           rDc..
                           Distribution Agent........
                           Consultants................
                           Legal Advisers............
                           Tax Advisers..............
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                           Notice/Publishing Approved Plan.
                           Claimant ldentification...............
                           Claims Processing..... . . ..........
                           Web Site Maintenance/Call Center
                 4. Fund Administrator Bond
                  5. Miscellaneous
                 6. FAIR Reporting Expenses
                 Total Plan                         Not Paid
     15c         Tax Administrator Fees & Bonds Not Paid by the Fund
               Total Disbursements for Plan Administration
     16       Disbursements to CourUOther Not Paid by the Fund:
     16a           I nve   stmen t Ex penseVCR/S Fees
     16b           Federal Tax       Payments                            I


               T
     17       DC & State Tax

     18       No. of Claims:
     18a         # of Claims Received This Reporting Period. ....
     18b         # of Claims Received Since lnception of Fund.............
     19       No. of Claimants/lnvestors:
     19a         # of Claimants/lnyesfors Paid This Reporting Period....
     19b         # of Claimants/lnyesfors Paid Since          of Fund.




                                                                                                                        :r./rt-.'-
                                                                                    L.


                                                                                               ,J,

                                                                                     / o / tC lt *
                                                                             Date
                       Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 6 of 58
                                                      Call Socket LP
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                    September 30,201,7

                                                         ASSETS

Current Assets
Checking 2017 - Boston               $          50,000.00
Checking - Boston Private                       98,450.98
 Escrow Mkt - Boston Private                   549,517.39

Total Current Assets                                                  697,968.37

Property and Equipment

Total Property and Equipment                                                   0.00


Other Assets
Receivable from Fed Rec                           7,200.00

Total Other Assets                                                         7,200.00

Total Assets                                                  $       705,168.37




                                               LIABILITIES AND CAPITAL

Current Liabilities
Funding from CS III                   $         541,252.69
Misc Accounts Payable                             7,000.00

Total Current Liabilities                                             548,252.69

Long-Term Liabilities

 Total Long-Term Liabilities                                                   0.00

 Total Liabilities                                                    548,252.69

Capital
Retained Earnings                            (2,025,005.07)
 Turnover Funds                                 935,189.68
 Turnover of Investor Funds                     549,075.00
 Net Income                                     697,656.07

 Total Capital                                                        I   s6,91 5.68

 Total Liabilities & Capital                                  $       705,168.37




                                          Unaudited - For Management Purposes Only
                   Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 7 of 58
                                                                                    Page: I

                                                   Call Socket LP
                                            Susan L. Uecker, Receiver
                                                 Income Statement
                                            For the Third Quarter 2017

                                     Current Quarter
Revenues
Runway Rental Income             $        61,547.37
Runway Partnership Income                 59,749.87
Sale of Assets-Runway                  1,550,000.00
Other - Deposit Default                   52,s00.00
Interest Income                              771.88

Total Revenues                         1,724,569.12


Expenses
Bank Charges-RW                               25.00
Employee Benefit-RW                           44.1 8
Equipment Rental-RW                           17.37
Events Expense-RW                            s28.30
Insurance Expense                            (82.32)
Insurance Expense-RW                         858.99
Internet Expense                             223.57
Internet Expense-RW                        3,884.19
Janitorial Expenses-RW                     4,386.00
Legal Fees & Costs-RW                      5,570.32
Marketing Expense-RW                       1,012.25
Meals and Entertainment Exp-RW              347.66
Payroll-RW                               39,221.56
Payroll - Commissions-RW                235,142.99
Employer Payroll Taxes-RW                 10,216.1 8
Payroll Service Charges                      380.62
Insurance - Workers' Comp                  2,690.14
Operating Supplies-RW                      2,787.91
Postage Expense                               52.45
Refund- Deposits                           4,703.77
Runway Lease Expense                      45,542.17
Tax - Payroll/Property                       27   t.2t
Telephone Expense-RW                         214.94
Travel Expense-RW                             15.54
Telecommunications Expense-RW              2,038.16
Website IT Consulting                        857.75
Turnover to New Owner                     29,016.66

Total Expenses                          389,967.56

Net Income                       $     1,334,601.56




                                          For Management Purposes Only
              Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 8 of 58
               STANDARDIZED FUND ACCOUNTING REPORT fOT CAII                              SOCKCT   II LP RECC|VETShiP-CASh BASiS
               Receivership Civil Court Case No. 3:17-cv-00223-RS
                         Period:     1to                 2017

           ACCOUNTING
                                                                                             Detail               Subtotal        Grand Total
Line   1       Beginning Balance (As of July '|,2017l-                                                                            8,462,964.65

               lncreases in Fund Balance:
  ne 2         Business lncome                                                                  7,960.00             7,960.00
  ne 3         Cash and Securities-Repayment from CS/RW                                        20,000.00            20,000.00
       4       lnteresUDividend lncome                                                          5,233.92             s,233.92
       5       Business Asset Liquidation
       6       Personal Asset Liquidation
       7       Third-Pafi Litigation lncome
       8       Miscellaneous - Other                                                            5,639.78             5,639.78
                 Total Funds Available (Lines 1 - 8):                                          38,833.70            38,833.70     8,501,798.35

               Decreases in Fund Balance:
       I       Disbursements to lnvestors
       10      Disbursements for Receivership Operations
       10a     Disbursements to Receiver or Other Professionals
       10b     Busrness Assel Expenses                                                        389,130.46           389,130.46
       10c     Personal Assel Expenses
       10d     lnvestment Expenses
       10e     Th td-P afty Litig ation Ex pe n se s
                   1. Attorney Fees
                   2. Litigation Expenses
                 Total

       10f     Tax Administrator Fees and Bonds
       1og     Federal and State Tax Payments
                 Total Disbursements for                                                      389,130.46           389,130.46
Line   11      Disbursements for Distribution Expenses Paid by the Fund:
       11a         Distribution Plan Development Expenses:
                    1. Fees:
                         Fund Administrator...
                         lndependent Distribution Consultant (lDC)
                         Distribution Agent.
                         Consultants. .. . .
                         Legal Advisers.
                         Tax Advisers. ..
                    2. Administrative Expenses
                    3. Miscellaneous


       11b         Distribution Plan lmplementation Expenses:
                    1. Fees:
                         Fund Administrator...   ..   ..   ..

                         tDc . .. ...........
                         Distribution Agent.
                         Consultants.........
                         Legal Advisers.....
                         Tax Advisers.....,.
                    2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved Plan... ... ...... .........   ..
                         Claimant ldentifi cation...
                         ClaimsProcessing...               ..
                         Web Site Maintenance/Call Center... .......... ........
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for lnvestor Restitution
                    (FAIR) Reporting Expenses

                Total Disbursements for                                                 d bv the Fund
Line 12        Disbursements to CourUOther:
Line 12a           lnvestment Expenses/Couft Registry lnvestment
               Sysfem (CR/S) Fees
Line 12b          Federal Tax Payments
            Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 9 of 58
                                                                                                15,000.00               15,000.00            0.00
              Total Disbursements to Court/CA Gold Medal
                                                                                                                                       404,130.46
              Total Funds Disbursed (Lines 9 - 1 1):                                           404,130.46              404,130.46
                                                                                                                                              .89
    13       Ending Balance (As of September 30' 20'17):
Line 14                                                            :

                Cash & Cash Equivalents                                                       8,097,667.89            8,097,667.89
Line 14a
Line 14b        lnvestments
Line 14c       OfherAssets or Uncleared Funds                                                                                        -TIrZFotSt
              Total Ending Balance of Fund - Net Assets                                       8,097,667.89            8,097,667.89


          SUPPLEMENTAL INFORMATION                         :

                                                                                               Detail

             Report of ltems NOT To Be Paid by the Fund:
Line 15      Disbursements for Plan Administration Expenses Not Paid by the
Line 15a        Plan Development Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator..............         .


                      tDc........   ..   .       .


                      Distribution Agent... ... ... ... ..
                      Consultants... . ..
                      Legal Advisers.
                      Tax Advisers. ..       .



                 2. Administrative Expenses
                 3. Miscellaneous
                 Total Plan DeveloDment Expenses Not Paid by the Fund

     15b        Plan lmplementation Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator.
                      tDC...
                      Distribution Agent.. . ..
                      Consultants.. . . .
                      Legal Advisers.
                      Tax Advisers. ..
                 2. Administrative Expenses
                 3. lnvestor ldentification:
                      Notice/Publishing Approved Plan...
                      Claimant ldentifi cation...
                      Claims Processing... ..
                      Web Site Maintenance/Call Center...
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                Total Plan                         Not Paid    the Fund
     15c        Tax Administrator Fees & Eonds Not Paid by the Fund
                                                     for           inistration                Not Paid       the Fund
  ne 16      Disbursements to CourUOther Not Paid by the Fund:
     16a                               Fees
                lnvestment Expenses/CRIS
     16b        Federal Tax     Payments                                                I

                                                                                        I

              Total Disbursements to Court/Other Not Paid                           the Fund:
  ne 17      DC & State Tax

  ne 18      No. of Claims:
     18a        # of Claims Received This Repofting Period.....                  ..........
     18b        # of Claims Received Since lnception of Fund.............
  ne 19      No. of Claimants/lnvestors:
Line 19a        # of Claimants/lnveslors Paid This Reporting Period.....
Line 19b        # of Claimants/lnveslors Paid Since          of Fund.




                                                                                                                                           ,nt1--
                                                                                                 L.          , Receiver



                                                                                                      /o          6
                       Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 10 of 58
                                                     Call Socket II LP
                                                 Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                    September 30,2017

                                                             ASSETS

Current Assets
Checking - Boston Private             $          32,420.31
Sale Proceeds-CB Building                       149,880.53
Sale Proceeds - Dufwin                        7,91s,367.05

Total Current Assets                                                  8,097,667.89

Property and Equipment

Total Property and Equipment                                                      0.00

Other Assets
CA Gold Medal Receivable                         33,5s0.00
Security Deposit-Dufuin                          24,053.25
Deposits                                            410.50

Total Other Assets                                                       5   8,0 I 3.75


Total Assets                                                   $      8,1 s s ,681 .64




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                         0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                       0.00

Total Liabilities                                                                 0.00

Capital
Beginning Equity                      $       9,302,918.86
Turnover Funds                                   30,512.39
Net Income                                   (1,177,749.61)

Total Capital                                                         8,155,681.64

Total Liabilities & Capital                                    $      8,1 55 ,681 .64




                                          Unaudited - For Management Purposes Only
                     Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 11 of 58
                                                                                       Page: I
                                                  Call Socket II LP
                                              Susan L. Uecker, Receiver
                                                   Income Statement
                                              For the Third Quarter 2017

                                       Current Quarter
Revenues
Interest lncome                    $         5,233.92
CS   II Call Center Income                   7,960.00
Payroll Tax Refunds                          s,639.78

Total Revenues                              18,833.70



Expenses
Business Meals                                245.79
CS II Consultant                          162,000.00
Firm Meetings Expense                          117.73
Insurance Expense                            5,527.82
Dialer Expense                               8,996.97
Payroll                                    117,187.81
Payroll Taxes                                9,327.03
Payroll Service Fees                           700.58
Workers Compensation Ins.                      535.50
Operating Expenses                           4,s20.49
Rent or Lease Expense                       72,159.75
Telephone Expense                            7,207.64
Travel                                          50.00
Supplies Expense                               153.29
Wireless Expense                              400.00

Total Expenses                            389,130.46

Net Income                         $     (370,296.76)




                                            For Management Purposes Only
               Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 12 of 58
                                                                                                              RECEiVCTSh|P-CASh BAS|S
               STANDARDIZED FUND ACCOUNTING REPORT fOT CAII SOCKCT III LP
               Receivership Civil Court Case No. 3:17-cv-00223-RS
                         Period:                                                         2017

           ACCOUNTING
                                                                                                  Detail
       1                   Balance (As of July 1,20171                                                                              6,525,743.49

               lncreases in Fund Balance:
       2       Business lncome                                                                             0.00             0.00
       3       Cash and Securities-Transfer from CS/Runway                                       2,189,000.00       2,189,000.00
       4       lnteresuDividend lncome                                                               4,876.83           4,876.83
Line   5       Business Asset Liquidation
Line   6       Pensonal Asset Liquidation
Line   7       Third-Party Litigation lncoms
Line   8       Miscellaneous - Sale Refund                                                                 0.00             0.00
                 Total Funds Avallable (Llnes 1 - 8):                                            2,193,876.83       2,193,876.83        8,719,620.32

               Decreases in Fund Balance:
       9                           to lnvestors
       't0                         for Receivership Operations
       10a                         to Receiver or Other Professionals
       10b                    Asset Expenses
       10c                   Asset Expenses
       10d     lnvestment Expenses
       10e     Th i rd-Pafty Litig ation Expenses
                     '1
                        . Attorney Fees
                     2. Litigation Expenses


       10f     Tax Administrator Fees and Bonds
       1og              and State Tax Payments


       11                       for Distribution Expenses Paid by the Fund:
       11a         Distibution Plan Developmenf Expenses:
                    1. Fees:
                         Fund Administrator.....
                         lndependent Distribution Consultant (lDC).
                         Distribution Agent... .                 .


                         Consultants.............
                         Legal Advisers..      .       .. . ..   .


                         Tax Advisers
                    2. Administrative Expenses
                    3. Miscellaneous


       11b        Distibution Plan lmplementation Expen ses:
                    1. Fees:
                         Fund Administrator... ... ... ... ... ... ........ ...             ..
                         rDc........
                         Distribution Agent...               .   .. . ..   . . .   ...
                         Consultants... ...    .


                         Legal Advisers
                         Tax Advisers. . . ..      .



                   2. Administrative Expenses
                    3. lnvestor ldentification:
                         Notice/Publishing Approved P|an......................
                         Claimant ldentification... ..
                         Claims Processing. .. ................
                         Web Site Maintenance/Call Center....................
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution
                   (FAIR) Reporting Expenses

                                              for Distribution
Line 12        Disbursements to CourUOther:
       12a        lnvestment Expenses/Couri Registry lnvestment
               Systern (CR/S) Fees
       12b         Federal Tax Payments
                Total Disbursements to Cou rtlOther:
                Total Funds Disbursed (Lines 9 - 11):
Line 13        Ending Balance (As of September 30, 2017):                                                                           8,719,620.32
                                Fund - Net Assets
       14a        Cash & Cash Equivalents                                                        8,719,620.32       8,719,620.32
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 13 of 58
Line 14b     lnvestments
    14c      Other Assets or Uncleared Funds
            Total Ending Balance of Fund - Net Assets                                     8,719,620.32       8,719,620.32


                      AL INFO
                                                                                                                            Grand

           Repod of ltems NOT To Be Paid by the Fund:
Line 15    Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a       Plan Development Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator.....
                     tDC.   ..
                     Distribution Agent...       . .   .   . .   .   . . . . .


                     Consultants.......
                     Legal Advisers...
                     Tax Advisers... .. .
                2. Administrative Expenses
                3. Miscellaneous


     15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator.........
                     tDc..................
                     Distribution A9en1...............
                     Consultants. .. .. .    .


                     Legal Advisers...
                     Tax Advisers......
                2. Administrative Expenses
                3. lnvestor ldentification:
                     Notice/Publishing Approved P|an......................
                     Claimant ldentification......
                     Claims Processing...........,..........
                     Web Site Maintenance/Call Center....................
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                                                                                         Fund
Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
             Total Disbursements for Plan Admi                                                               Fund
Line 16    Disbursements to Couruother Not Paid by the Fund:
Line 16a      lnvestment Expenses/CR/S   Fees
Line 16b      Federal Tax        Payments                                        I

                                                                                 I




     17    DC & State Tax

     18    No, of Claims:
     18a       #of Claims Received This Repofting Period.............
     18b       # of Claims Received Since lnception of Fund...........
     19    No. of Claimants/l nvestors:
     19a       # of Claimants/lnveslors Paid This Repofting Period.                  .


     19b       #of              vestors Pa,d Slnce           of Fund.




                                                                                                                                    A.'"/--

                                                                                                         o
                                                                                     Date
                       Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 14 of 58
                                                     Call Socket III LLC
                                                  Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                     September 30,2017

                                                             ASSETS

Current Assets
Checking - Boston Private             $           5,000.00
Market Rate - Boston Private                  8,714,620.32

Total Current Assets                                                  8,719,620.32

Property and Equipment

Total Property and Equipment                                                  0.00

Other Assets

Total Other Assets                                                            0.00

Total Assets                                                   $      8,719,620.32




                                                LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                     0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                   0.00

Total Liabilities                                                             0.00

Capital
Beginning Equity                      $          56,794.22
Turnover Funds-General                           1t,220.38
Turnover Funds-Magnin                         9,184,044.00
Funding Per Court Order-CS                     (s4r,2s2.69)
Net Income                                        8,814.41

Total Capital                                                         8,719,620.32

Total Liabilities & Capital                                    $      8,719,620.32




                                          Unaudited - For Management Purposes Only
                  Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 15 of 58
                                                                                    Page: I
                                               Call Socket III LLC
                                            Susan L. Uecker, Receiver
                                                 Income Statement
                                            For the Third Quarter 2017

                                     Current Quarter
Revenues
Interest Income                  $         4,876.83

Total Revenues                             4,876.83


Expenses

Total Expenses                                 0.00

Net Income                       $         4,876.83




                                         For Management Purposes Only
                Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 16 of 58
                 STANDARDIZED FUND ACCOUNTING REPORT for Call socket Holding Receivership-cash Basis
                 Receivership Civil Court Case No. 3:17-cv-00223-RS
                          Period:      ltoSe       ber 30,2017

FUND ACCOUNTING
                                                                                                Detail          Subtotal
Line   1         Beginning Balance (As of July 1, 20'l7l                                                                          9,679,981.20

                 lncreases in Fund Balance:
Line 2           Business lncome
Line 3                 and Securities                                                                 0.00             0.00
Line 4           lnteresUDividend lncome                                                          6,254.87         6,254.87
  ne 5           Business Asset Liquidation
  ne 6           Personal Asset Liquidation
       7                     Litigation lncome
       8         Miscellaneous - Other
                   Total Funds Available (Lines 1 - 8):                                           6,254.87         6,254.87       9,686,236.07

                 Decreases in Fund Balance:
Line 9           Disbursements to lnvestors
Line 10          Disbursements for Receivership Operations
Line 10a         Dlsbursements to Receiver or Other Professionals
Line 10b         Eus,ness Assef Expenses                                                                 0.00          0.00
Line 10c         Personal Asset Expenses
Line 10d                       Expenses
Line 10e         Th ird-P afty Litig ati o n Expenses
                      1. Attorney Fees
                      2. Litigation Expenses
                   Total

Line 10f         Tax Administrator Fees and Bonds
Line 109         Federal and Sfale lax Payments
                  T9_$"1__D_i9   [g 19pp e 1-!s                                                                            0.00           0.00

Line   11        Disbursements for Distribution Expenses Paid by the Fund:
Line   1   1a        Distribution Plan Development Expenses:
                     1. Fees:
                          FundAdministrator....... ....... . . .           .   ..
                             lndependent Distribution Consultant (lDC)....
                             Distribution Agent..............
                             Consultants. ..
                             Legal Advisers..
                             Tax Advisers..        .



                     2. Administrative Expenses
                      3. Miscellaneous
                     Total Plan

       11b          Distribution Plan lmplementation Expenses:
                     1. Fees:
                             Fund Administrator... ... ...        .. ...
                             tDc. ..   .       ,



                            Distribution Agent. .. ... .. . ...   ..
                            Consultants.
                            Legal Advisers..
                            Tax Advisers... . .. .....
                     2. Administrative Expenses
                     3. lnvestor ldentification         :


                            Notice/Publishing Approved Plan... ... ... ... ......... ..
                            Claimant ldentification... ..
                            Claims Processing . ... ..........
                            Web Site Maintenance/Call Center... .......... ........
                     4. Fund Administrator Bond
                     5. Miscellaneous
                     6. Federal Account for lnvestor Restitution
                     (FAIR) Reporting Expenses
                    Total Plan
                  Total Disbursements for                                                 Paid bv the Fund
Line 12          Disbursements to Couruother:
Line 12a            I nve   stme nt Ex pe n se s/Cou        rt   Reg istry I nve stment
                 System (CR/S) Fees
Line 12b            Federal Tax Payments
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 17 of 58
               Total Disbursements to CourUOther:
               Total Funds Disbursed (Lines 9 - 1l):                                                                                        0.00

Line'13       Ending Balance (As of September 30, 2017)
Line 14       Ending Balance of Fund  - Net Assets:
Line 14a          Cash & Cash Equivalents                                                           9,686,236.07     9,686,236.07
Line 14b          lnvestments
Line 14c         Other Assets or Uncleared Funds
                Total Ending Balance of Fund - Net Assets                                           9,686,236.07     9,686,236.07   9,686,236.07


           SUPPLEMENTAL INFORMATION
                                                                                                                     Subtotal       Grand Total
               Report of ltems     l{Of Io      Be Paid by the Fund:
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 15a          Plan Development Expenses Not Paid by the Fund:
                   1. Fees
                        Fund Administrator.
                        tDc.....................
                        Distribution Agent..
                        Consultants... ... ... .
                        Legal Advisers......
                        Tax Advisers.
                   2. Administrative Expenses
                   3. Miscellaneous


Line 15b          Plan lmplementation Expenses Not Paid by the Fund:
                   1. Fees:
                        Fund Administrator... ..............
                        tDc.................
                        Distribution Agent.........
                        Consultants. ..
                        Legal Advisers
                        Tax Advisers
                  2. Administrative Expenses
                   3. lnvestor ldentification:
                        Notice/Publishing Approved P|an...... ... ... ...........
                        Claimant ldentification... .  .


                        Claims Processing... . . ..........
                        Web Site Maintenance/Call Center...... ...............
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses
                                                                 Not
Line 15c          Tax Administrator Fees & Bonds Not Paid by the Fund
                                               for Plan                                                            the Fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
Line 16a          I nve stme nt Ex pe n se s/C R lS Fees

Line 16b          Federal Tax Payments
                Total Disbursements                                                    the Fund
Line 17       DC & State Tax

Line l8       No. of Claims:
Line 18a          # of Claims Received This Repoding Period              ..   ... . ... ..   ....

Line   18b       # of Claims Received Since lnception of Fund...... .......
Line   19     No. of Claimants/lnvestors:
Line   19a       # of Claimants/lnyesfors Paid This Reporting Period. . ..
Line   19b       # of Claimants/lnyesfors Paid Since           of Fund.




                                                                                             Date
                                                                                                           /o//c/r4
                      Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 18 of 58
                                              Call Socket Holding Company LLC
                                                   Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                     September 30,2017

                                                             ASSETS

Current Assets
Checking - Boston Private            $            8,109.44
Trib Sale Proceeds - Boston                   9,678,126.63

Total Current Assets                                                  9,686,236.07

Property and Equipment

Total Property and Equipment                                                  0.00

Other Assets

Total Other Assets                                                            0.00

Total Assets                                                   $      9,686,236.07




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                     0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                   0.00

Total Liabilities                                                             0.00

Capital
Beginning Equity                     $        9,642,329.69
Turnover Funds                                   68,303.40
Net Income                                      (24,396.02)

TotalCapital                                                          9,686,236.07

Total Liabilities & Capital                                   $       9,686,236.07




                                         Unaudited - For Management purposes Only
                  Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 19 of 58
                                                                                    Page:   I
                                       Call Socket Holding Company LLC
                                            Susan L. Uecker, Receiver
                                                Income Statement
                                           For the Third Quarter 2017

                                    Current Quarter
Revenues
Interest Income                 $         6,2s4.87

Total Revenues                            6,254.87


Expenses

Total Expenses                                0.00

Net Income                      $         6,254.87




                                        For Management Purposes Only
              Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 20 of 58
              STANDARDIZED FUND ACCOUNTING REPORT for JL Gateway Receivership-Cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                       Period: J    1to                 2017

           ACCOUNTING                 lnstructi
                                                                                                         Detail      Subtotal      Grand Total
                                                                                                                                     1 34,1 78.38
Line'l        Beginning Balance (As of July 1, 20171
              lncreases in Fund Balance:
Line 2        Business lncome                                                                           140,798.94   140,798.94
Line 3        Cash and Securities - Transfer from West Oak Plaza                                          2,870.08     2,870.08
  ne4         lnteresUDividend lncome                                                                                      0.00
       5      Business Asset Liquidation
       6      Perconal Asset Liquidation
       7      Third-Party Litigation lncome
       8        iscellaneous - Other
                Total Funds Available (Lines 1 - 8):                                                    143,669.02   143,669.02      277,847.40

              Decreases in Fund Balance:
Line 9        Disbursements to lnvestors
Line 10       Disbursements for Receivership Operations
       10a    Disbursements to Receiver or Other Professionals
       10b    Busrness Assel Expenses                                                                    90,628.36    90,628.36
       10c    Personal Assel Expenses
       10d    lnvestment Expenses
       10e    Thi rd-Party Litig ation Ex pe n se s
                   1. Attorney Fees
                   2. Litigation Expenses
                Total Th ird- P a rly Liti g ati o n
Line 10f      Tax Administrator Fees and Bonds
Line 109      Federal and State Tax Payments
                Total Disbursements for Receivershi                                                      90 628.36     90,628.36
Line   11     Disbursements for Distribution Expenses Paid by the Fund
Line 1 1a         Distribution Plan Developmenf Expenses:
                      1. Fees:
                              Fund Administrator......
                              lndependent Distribution Consultant (lDC)... .........               ..
                              Distribution Agent... .. . .. . ...
                              Consultants.. . . ..
                              Legal Advisers..
                              Tax Advisers. ..
                      2. Administrative Expenses
                      3. Miscellaneous
                      Total Plan Development
       11b        Distribution Plan lmplementation Expenses:
                      'l   . Fees:
                               Fund Adminrstrator.   .. ..
                              IDC,.
                              Distribution Agent... ...      ..   .   ... ..
                              Consultants... ...
                              Legal Advisers..
                              Tax Advisers.. . .



                      2. Administrative Expenses
                      3. lnvestor ldentification:
                              Notice/Publishing Approved P|an... ...... .................
                              Claimant ldentrfrcation
                              ClaimsProcessrng.                   ........
                           Web Site Maintenance/Call Center...,.......
                      4. Fund Administrator Bond
                      5. Miscellaneous
                      6. Federal Account for lnvestor Restitution (FAIR)
                      Reporting Expenses

                Total Disbursements for Distribution
Line 12       Disbursements to Couruother:
Line 12a          I   nve stme nt Ex pe n se s/Co         u   ft        Reg i stry I nve stme nt
              Sysfem (CR/S) Fees
Line 12b         Federal Tax Payments
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 21 of 58
            Total Disbursements to CourUOther:
            Tota! Funds Disbursed (Lines 9 - 11):                                                 90,628.36            90,628.36       90,628.36

Line 13    Ending Balance (As of September 30, 2017)                                                                                  187,2',19.04

Line 14    Ending Balance of Fund   - Net Assets:
Line 14a       Cash & Cash Equivalents                                                            187,219.04           187,219.04
Line 14b       lnvestments
Line 14c       OfherAssets or Uncleared Funds
             Total Ending Balance of Fund                       -   Net Assets                    187,219.04           187,219.04     187,219.04


OTHER SUPPLEMENTAL INFORMATION
                                                                                                   Detail                           Grand Total
           Report of ltems IVOf            fo      Be Paid by the Fund:
Line 15    Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a       Plan Development Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator
                     rDc.
                     Distribution Agent... ... ...          .


                     Consultants... ..         .



                     Legal Advisers..
                     Tax Advisers. ..      .



                2. Administrative Expenses
                3. Miscellaneous


Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator.....
                     tDc........
                     Distribution Agent.........
                     Consultants...
                     Legal Advisers..
                     Tax Advisers. . . . . . . . . . . ..



                2. Administrative Expenses
                3. lnvestor ldentification.
                     Notice/Publishing Approved Plan... ... ... ... ...          .


                     Claimant ldentification..
                     Claims Processing . .. .
                     Web Site Maintenance/Call Center. . . . .. .. . . .
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
                                         Expenses Not Paid by the Fund
    15c        Tax Administrator Fees & Bonds Not Paid by the                        Find   I

             Total                 for Plan Administration            Not Paid                              the Fund
Line 16    Disbursements to CourUOther Not Paid by the Fund:
    16a        I nve stme nt Ex pe n se s/C         R   lS Fees
    16b        Federal Tax Payments
                                                            urUOther Not Pai d
    17         & State Tax

    18     No. of Claims:
    18a       # of Claims Received This Reponing Period.............
    18b       # of Claims Received Since lnception of Fund . . ... . . . ...
 ne 19     No. of Claimants/lnvestors:
    19a       # of Claimants/lnyestors Paid This Repofting Period. .
    19b       # of Claimants/lnyesrors Paid Since          of Fund.




                                                                                                                                    Ce.tJ*


                                                                                                Date
                                                                                                       lc/tc/r?
                      Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 22 of 58
                                                     JL GATEWAY LLC
                                                  Susan L. Uecker, Receiver
                                                        Balance Sheet
                                                     September 30,2017

                                                             ASSETS

Current Assets
Checking-Boston Private Bank         $          187,219.04

 Total Current Assets                                                  187,219.04

Property and Equipment

 Total Property and Equipment                                                 0.00

Other Assets

 Total Other Assets                                                           0.00

 Total Assets                                                  $       187,219.04




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                     0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                   0.00

Total Liabilities                                                             0.00

Capital
Turnover Funds                       $           59,942.11
WIFI RailTI Credits                               (6,000.00)
Net Income                                      t33,276.93

Total Capital                                                         187,219.04

Total Liabilities & Capital                                    $      t87,219.04




                                         Unaudited - For Management purposes Only
                  Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 23 of 58
                                                                                    Page:   1


                                               JL GATEWAY LLC
                                            Susan L. Uecker, Receiver
                                                 Income Statement
                                           For the Second Quarter 2017

                                     Current Quarter
Revenues
Rental Income                    $      tzt,672.84
CAM/Ins/Mgmt/Late                        25,126.10

Total Revenues                          146,798.94


Expenses
Expenses Paid by Eclipse                 84,028.36
Taxes - State and Local                   6,600.00

Total Expenses                           90,628.36

Net Income                       $       56,170.58




                                        For Management Purposes Only
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 24 of 58
              STANDARDTZED FUND ACCOUNTTNG REPORT for West oakland Plaza Receivership-cash Basis
              Receivership Civil Court Case No. 3:17-cv-00223-RS
                        Period:     1to                 2017


FUND ACCOUNTING
                                                                                          Detail          Subtotal     Grand Total
       1      Beginning Balance (As of July 1,20171                                                                        2,870.08

              Increases in Fund Balance:
       2      Business lncome
       3      Cash and Securities                                                                  0.00         0.00
       4      lnteresUDividend lncome
       5                 iAsset Liquidation
       6                  Asset Liquidation
Line   7                    Litigation lncome
Line   8                    - Other
                Total Funds Avaihble (Lines            I-    8):                                   0.00         0.00       2,870.08

              Decreases in Fund Balance:
Line 9        Disbursements to lnvestors
Line 10       Disbursements for Receivership Operations
Line 10a      Disbursements to Receiver or Other Professionals
       10b    Busrness Asset Expenses
       10c    Personal Assel Expenses
       10d    lnvestment Expenses - Transfer JL Gateway                                      2,870.08       2,870.08
       10e    Third-Party Litigation Expe n ses
                  'l . Attorney Fees

                  2. Litigation Expenses
                Total

       10f    Tax Administrator Fees and Bonds
       1og    Federal and State Tax Payments
                                                                                             2,870.08       2,870.08
Line   11     Disbursements for Distribution Expenses Paid by the Fund:
Line 11a          Distribution Plan Development Expenses:
                   1. Fees:
                        Fund Administrator
                        lndependent Distribution Consultant (lDC).....
                        Distribution Agent.....
                        Consultants............
                        Legal Advisers.........
                        Tax Advisers...... ... ..
                  2. Administrative Expenses
                   3. Miscellaneous
                  Total Plan

Line 1lb          Distribution Plan lmplementation Expenses:
                   1. Fees:
                        Fund Administrator..................
                        tDC................
                        Distribution Agent.............
                        Consultants... ...
                        Legal Advisers..
                        Tax Advisers... .
                   2. Administrative Expenses
                   3. lnvestor ldentification:
                        Notice/Publishing Approved P|an........................
                        Claimant ldentification.....
                        Claims Processin9.................
                        Web Site Maintenance/Call Center...... ....
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution (FAIR)
                   Reporting Expenses

                Total Disbursements for                                           rv   the Fund
Line 12       Disbursements to CourUOther:
Line 12a         I nve stme nt Ex pe n ses/Co u rt Reg i stry I nve stm e nt

              Syslem (CR/S) Fees
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 25 of 58
    12b         Federal Tax Payments
             Total Disbursements to CourUOther:
             Total Funds Disbursed (Lines 9- 11):                                              2,870.08       2,870.08       2,870.08

     13     Ending Balance (As of September 30, 2017):                                                                           0.00

Line 14     Ending Balance of Fund - Net Assets:
Line 14a       Cash & Cash Equivalents                                                               0.00         0.00
Line 14b        lnvestments
Line 14c       OfherAssels or Uncleared Funds
              Total Ending Balance of Fund - NetAssets                                               0.00         0.00           0.00


OTHER SUPPLEMENTAL INFORMATION                        :

                                                                                            Detail          Subtotal     Grand Total
            Repod of ltems NOT To Be Paid by the Fund:
Line 15     Disburcements for Plan Administration Expenses Not Paid by the Fund:
Line 15a        Plan Development Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator..................
                      tDc................
                      Distribution 49ent.............
                      Consultants......
                      Legal Advisers..
                      Tax Advisers.. . .
                 2. Administrative Expenses
                 3. Miscellaneous


Line 15b        Plan lmplementation Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator... ... ......... ...
                      tDC..........................
                      Distribution Agent.............
                      Consultants... ...
                      Legal Advisers..
                      Tax Advisers... .
                 2. Administrative Expenses
                 3. lnvestor ldentification:
                      Notice/Publishing Approved Plan.....
                      Claimant ldentification.....
                      Claims Processing.....
                      Web Site Maintenance/Call Center.
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. FAIR Reporting Expenses
                                                                                 Fund
Line 15c        Tax Administrator Fees & Bonds Not Paid by the Fund
                                            for Plan Administration                   Not Paid
Line 16     Disbursements to CourUOther Not Paid by the Fund:
Line 16a        I nve stment Ex pe n se s/CRlS Fees

Line 16b        Federal Tax Payments
              Total                                                       the Fund:
Line 17     DC & State Tax Payments

Line 18     No. of Claims:
Line 18a       # of Claims Received This Reporting Period . .... . . . .. .. .   .



Line 18b        # of Claims Received Since lnception of Fund............
Line 19     No. of Claimants/lnvestors:
Line 19a       # of Claimants/lnyesfors Paid This Reporting Period .. .
Line 19b       # of Claimants/lnyestors Paid Since lnception of Fund.




                                                                                                                          C2|t/*-.


                                                                                                O       6
                                                                                     Date
                       Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 26 of 58
                                                 WESTOAKLAND PLAZA
                                                  Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                       August 31,2017

                                                           ASSETS

Current Assets

Total Current Assets                                                          0.00

Property and Equipment

Total Property and Equipment                                                  0.00

Other Assets

Total Other Assets                                                            0.00

Total Assets                                                   $              0.00




                                                LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                     0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                   0.00

Total Liabilities                                                             0.00

Capital
Turnover Funds                        $            2,870.08
Turnover to JL Gateway                            (2,870.08)
Net Income                                             0.00

TotalCapital                                                                  0.00

Total Liabilities & Capital                                    $              0.00




                                          Unaudited - For Management Purposes Only
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 27 of 58
             STANDARDTZED FUND ACCOUNTING REPORT for CA Gold Medal Receivership-cash Basis
             Receivership Civil Court Case No. 3: 17-cv-00223-RS
                       Period. J                       2017

FUND ACCOUNTING (See          lnstruction+
                                                                                Detail                                Total     Reference
                                                                                                               '15,773,365.30       I
       1     Beginning Balance (As of July 1,20171
             ,ncreases in Fund Balance:
                      lncome                                                         974.34           974.34
                  and Securities-Funding from CS ll                              15,000.00         15,000.00
             nteresuDividend lncome                                              I 0,1 85.34       10,185.34
                      Asset Liquidation
                      Asset Liquidation
                        Litigation lncome
                            - Other                                                   0.00             0.00
              Total Funds Available (Lines 1 8):           -                     26,159.68        26,159.68    15,799,524.98

                             in Fund Balance:
                                 to lnvestors
Line 10      Disbursements for Receivership Operations
Line   10a   Disbursemerts to Receiver or Other Professionals
Line   10b   Buslness Assef Expenses                                             28,283.13         28,283.13
Line 10c     Personal Asset Expenses
Line 10d     lnvestment Expenses
Line 10e     Th i rd-Party Litigation Expen se s
                   1. Attorney Fees
                   2. Litigation Expenses


Line 10f     Tax Administrator Fees and Bonds
Line 109     Federal and State Iax Payments


Line   11    Disbursements for Distribution Expenses Paid by the Fund:
Line   11a      Distibution Plan Developmenf Expenses:
                  1. Fees:
                        Fund Administrator... ... ... ... ... ............
                        lndependent Distribution Consuttant (lDC)
                        Distribution Agent.
                        Consultants... ... ...
                        Legal Advisers... ..


                  2. Administrative Expenses
                  3. Miscellaneous


Line 11b         Distibution Plan lmplementation Expenses:
                     Fees:
                        Fund Administrator
                        tDC.....................
                        Distribution Agent..
                        Consultants..........
                        Legal Advisers... ...
                        Tax Advisers..
                  2. Administrative Expenses
                  3. lnvestor ldentifi cation:
                        Notice/Publishing Approved P|an......
                        Claimant ldentification... ... .
                        Claims Processing
                        Web Site Maintenance/Call
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses



       12           rsements to CourUOther:
       12a       lnvestment Expenses/Coud Registry lnvestment
             System (CR/S) Fees
       12b      Federal Tax Payments
              Total Disbursements to CourUOther:
              Total Funds Disbursed (Lines 9 'l 1):            -                                                   28,283.13
       13             Balance (As of September 30, 2017):                                                      @
Line 14a         Cash & Cash Equivalents                                     15,771 ,241 .85   15,771,241.85
       14b       lnvestments
       14c       OfherAssets or Uncleared Funds
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 28 of 58
              Total Ending Balance of Fund                 -   Net Assets                 15,771,241.85   15,771,241.85


                                 INFORMATION:
                                                                                                            Subtotal      Grand Total

                     of ltems NOT To Be Paid bY the Fund:
Line 15            rsements for Plan Administration Expenses Not Paid by the Fund:
Line 15a        Plan Development Expenses Not Paid by the Fund:
                  '1. Fees:
                        Fund Administrator... ... ... ... ......... ..
                        1Dc...................
                        Distribution Agent
                        Consultants........
                        I a^^l    Alvi-Ar-

                       Tax Advisers
                  2. Administrative Expenses
                  3. Miscellaneous


Line 15b        Plan lmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                        Fund Administralor. .. ... ... ... ... ... ...


                        Distribution Agent. . ... .. . . ... .. . ..
                        Consultanls
                        Legal Advisers.
                        Tax Advisers.,....
                  2. Administrative Expenses
                  3. lnvestor ldentifi cation:
                        Notice/Publishinq Approved P|an......
                        Claimant ldentification... ...
                        Claims Processins . .. . . ... ... .. . .        .


                        Web Site Maintenance/Call Center...... ..............
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses

Line 5c
     1           Tax Administrator Fees           & Bonds Not Paid by the Fund

Line 16      Disbursements to CourUOther Not Paid by the Fund:
Line 16a         lnvestment Expenses/CR/S  Fees                                      I

Line 16b         Federal Tax        Payments                                         I

              Total Disbursements to CourUOther                              Paid   the
Line 17          & State Tax
Line 18      No. of Claims:
Line 18a        # of Claims Received This Repofting Peiod........ .........
Line 18b        * of Claims Received Since lnception of Fund...... ..... ....
Line 19      No. of Claimants/lnvestors:
Line 19a        # of Claimants/lnvestors Paid This Reporting Peiod..... ..
Line 19b        # of Claimants/lnvestors Paid Since lnception of Fund. ...



    Ref
     #                                        Item                                           Amount       Corresponding Notes
         1   Beginning Balance (As




                                                                                                                                u://\-
                                                                                                   0
                                                                                          Date
                     Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 29 of 58
                                                 CALIFORNIA GOLD MEDAL
                                                    Susan L. Uecker, Receiver
                                                         Balance Sheet
                                                       September 30,2017

                                                                 ASSETS

Current Assets
Checking - Boston Private           s              t1,511.77
Money Market - Boston Private               1s,759,730.08

Total Current Assets                                                      15,77r,241.85

Property and Equipment

Total Property and Equipment                                                          0.00

Other Assets

Total Other Assets                                                                    0.00

Total Assets                                                       $      15,771,241.85




                                                 LIABILITIES AND CAPITAL

Current Liabilities
Central Escrow Funds                $       I   5,746, l 80.00
CS II Funding (Community Bank)                     33,550.00
Prepaid Security                                       573.30

Total Current Liabilities                                                 r   5,780,303.30

Long-Term Liabilities

Total Long-Term Liabilities                                                           0.00

Total Liabilities                                                         15,780,303.30

Capital
Turnover Funds                                      4,032.26
Tumover - Crystal Golden                            5,502.40
Net Income                                        (18,s96.1 1)

Total Capital                                                                    (e,06r.4s)

Total Liabilities & Capital                                        $      15,771,241.85




                                        Unaudited - For Management Purposes Only
                   Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 30 of 58
                                                                                     Page:   1


                                          CALIFORNIA GOLD MEDAL
                                              Susan L. Uecker, Receiver
                                                  Income Statement
                                             For the Third Quarter 201 7

                                     Current Quarter
Revenues
Rental Income                    $           974.34
Interest Income                               85.34
                                         I 0, I


Total Revenues                            I 1,1 59.68



Expenses
Security Expense                         21,964.93
Storage                                   I ,01 6.82
Taxes-Federal&State                          12s.00
Utilities Expense                         5,176.38

Total Expenses                           28,283.13

Net Income                       $      (17, r23.4s)




                                         For Management Purposes Only
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 31 of 58
            STANDARDIZED FUND ACCOUNTING REPORT for Crystal Golden Receivership-Cash Basis
            Receivership Civil Court Case No. 3:17-cv-00223-RS
                      Period: Ju 1to                  2017

FUND ACCOUNTING (See lnstructions):
                                                                                                                                    Subtotal      Grand Total
    1       Beginning Balance (As of July 1,20171                                                                                                     5,502.40
            lncreases in Fund Balance:
    2       Business Income
    3       Cash and Securities                                                                                              0.00          0.00
    4       lnteresUDividend !ncome
    5       Business Asset Liquidation
    6       Perconal Asset Liquidation
    7       Third-Party Litigation lncome
    8       Miscellaneous - Other
              Total Funds Available (Lines 1 - 8):                                                                           0.00          0.00       5,502.40
                               in Fund Balance:
    9                          nts to lnvestors
Line 10     Disbursements for Receivership Operations
    10a     Disbursements to Receiver or Other Professionals
    10b     Busrness Assef Expenses
    10c     Personal Asset Expenses
    10d     lnvestment Expenses-Transfer to CA Gold Medal                                                             5,502.40         5,502.40
    10e     Th i rd-P afty Litigation Expenses
                  1. Attorney Fees
                  2. Litigation Expenses


    10f     Tax Administrator Fees and Bonds
    1og     Federal and Sfafe Iax Payments
             Total Disbursements for                                                                                                   5.502.40       5.502.40
    1'.|    Disbursements for Distribution Expenses Paid by the Fund:
    11a        Distribution Plan Development Expenses:
                1. Fees:
                        Fund Administrator......
                        lndependent Distribution Consultant (lDC)...
                        Distribution Agent.....
                        Consultants... .
                        Legal Advisers
                        Tax Advisers..     .



                2. Administrative Expenses
                3. Miscellaneous


    11b        Distribution Plan lmplementation Expenses:
                '1
                     . Fees:
                        Fund Administrator.        . .   ... ... ..   . .   ..   .   ..
                        rDC................
                        Distribution 49ent.............
                        Consultants.....
                        Legal Advisers..
                        Tax Advisers..     .   .


                2. Administrative Expenses
                3. lnvestor ldentification:
                        Notice/Publishing Approved P|an.........................
                     Claimant ldentifi cation.....
                     Claims Processing.................
                     Web Site Maintenance/Call Center...                                  .   .. ...   .

                4. Fund Administrator Bond
                5. Miscellaneous
                6. Federal Account for lnvestor Restitution (FAIR)
                Reporting Expenses

             Total Disbursements for Distribution                                                          Paid   the Fund
    12      Disbursements to CourUOther:
    12a        I nvestment Ex penses/Cou rt Registry I nvestme nt

            Sysfern (CR/S) Fees
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 32 of 58
    12b        Federal Tax Payments
             Total Disburgements to GourUOther:
             Total Funds Disbursed (Lines 9- ll):                                                                                  0.00
    13      Ending Balance (As of September 30, 2017):                                                                             0.00
Line 14     Ending Balance of Fund - Net Assets:
Line 14a       Cash & Cash Equivalents                                                                 0.00         0.00
Line 14b        lnvestments
Line 14c      OtherAssets or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                                                 0.00         0.00           0.00


OTHER SUPPLEMENTAL INFORMATION                           :

                                                                                                                            Grand Total
            Repod of ltems NOT To Be Paid by the Fund:
Line'15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a       Plan Developmenl Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator.       . .   ... ... ..   ..   ..   ...
                     tDc................
                     Distribution Agent.............
                     Consultants... . .
                     Legal Advisers..
                     Tax Advisers....
                2. Administrative Expenses
                3. Miscellaneous


Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator........... ....                       .


                     tDC....................
                     Distribution Agent.
                     Consultants.........
                     Legal Advisers... ..
                     Tax Advisers....
                2. Administrative Expenses
                3. lnvestor ldentification:
                     Notice/Publishing Approved P|an......
                     Claimant ldentification.....
                     Claims Processing.........................
                     Web Site Maintenance/Call Center....
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses

Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
             Total Disbursements for Plan Administration                                    Not Paid     the Fund
Line 16     Disbursements to CourUOther Not Paid by the Fund:
Line 16a       I nve stm e n t Ex penseVCRlS Fees

Line 16b       Federal Tax Payments


Line 17     DC & State Tax

Line 18     No. of Claims:
Line 18a       # of Claims Received This Reporting Period                         .. ...

Line 18b       # of Claims Received Since lnception of Fund.............
Line 19     No. of Claimants/!nvestors:
Line 19a       # of Claimants/lnvestors Paid This Reporting Period. . ..
Line 19b       # of Claimants/lnvestors Paid Since lnception of Fund.




                                                                                                                       -(   q: "l.c'-


                                                                                           Date
                                                                                                   td/t 6/r1
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 33 of 58
              STANDARDIZED FUND ACCOUNTING REPORT for NA3PL Escrow Funds-Cash Basis
              Receivership Civil Court Case No. 3:1 7-cv-00223-RS
                          Period: Ju       1to                           ber 30, 2017

FUND ACCOUNTING

Line   1      Beginning Balance (As of July 1, 20171                                                       560,140.61

              Increases in Fund Balance:
Line   2      Business lncome
Line 3        Cash and Securities-Escrow Funds                                             0.00     0.00
Line 4        lnteresUDividend lncome                                                    362.24   362.24
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7                    Litigation lncome
Line 8        Miscellaneous - Other                                                        0.00     0.00
                Total Funds Available (Lines                    1        -       8):     362.24   362.24       362.24

              Decreases in Fund Balance:
Line 9        Disbursements to lnvestors
Line 10       Disbursements for Receivership Operations
Line   10a    Disbursements to Receiver or Other Professionals
Line   10b    Business Assef Expenses                                                     40.39   40.39
Line   10c    Personal Asset Expenses
Line 10d      lnvestment Expenses
Line 10e      Th ird-Pa fty Litigation Expenses
                   1. Attorney Fees
                   2. Litigation Expenses


       10f    Tax Administrator Fees and Bonds
       1og    Federal and State Tax Payments
                Total Disbursements for
       11     Disbursements for Distribution Expenses Paid by the Fund
       11a        Distribution Plan Development Expenses:
                   1. Fees:
                        Fund Administrator
                        lndependent Oistribution Consultant (lOC).....
                        Distribution Agent... ... ... ... ..
                        Consultants... ...
                        Legal Advisers..
                        Tax Advisers... ..
                   2. Administrative Expenses
                   3. Miscellaneous


       11b        Distribution Plan lmplementation Expenses:
                   1. Fees:
                        Fund Administrator...        .. . .. . ..   ..   .. ..   .   .


                        tDC......
                        Distribution Agent. .. .
                        Consultants... ... ... ...
                        Legal Advisers... ... ..
                        Tax Advisers..........
                   2. Administrative Expenses
                   3. lnvestor ldentification:
                        Notice/Publishing Approved Plan
                        Claimant ldentification..............
                        Claims Processing...................
                        Web Site Maintenance/Call Center...........
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. Federal Account for lnvestor Restitution
                   (FAl R) Reportlng Expenses

                                                                                         Fund
       12     Disbursements to CourUOther:
       12a       I nve stme nt Ex pen se s/Co u ft Reg i stry I nve stment

              System (CR/S) Fees
       12b       Federal Tax Payments
                Total Disbursements to CourUOther:
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 34 of 58
             Total Funds Disbursed (Lines 9 - 11):                                                                                          40.39
 ne't3      Ending Balance (As of September 30, 2017):
    14      Ending Balance    Fund - Net Assets:
    14a         Cash & Cash Equivalents                                                    560,462.46                   560,462.46
    14b        lnvestments
    14c       OtherAssefs or Uncleared Funds
             Total Ending Balance of Fund - Net Assets                                     560,462.46                   560,462.46     560,462.46


OTHER SUPPLEMENTAL INFORMATION
                                                                                                                                     Grand Total
            Report of ltems IVOI            Io   Be Paid by the Fund:
Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a        Plan DevelopmenfExpenses Not Paid by the Fund:
                 1. Fees
                      Fund Administrator
                      tDC...
                      Distribution Agent.
                      Consultants.........
                      Legal Advisers..
                      Tax Advisers. .. .
                2. Administrative Expenses
                3. Miscellaneous
                Total Plan                                         Not Paid   the Fund

Line 15b        Plan lmplementation Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator........      .....   ..


                      nictrih'           A^ant
                                 'ti^n




                2. Administrative Expenses
                3. lnvestor ldentification:
                      Notice/Publishing Approved P|an......
                      Claimant ldentification.....
                      Claims Processing...................
                      Web Site Maintenance/Call Center... ... ......
                4. Fund Administrator Bond
                 5. Miscellaneous
                6. FAIR Reporting Expenses

Line 15c        Tax Administrator Fees            & Bonds Not Paid by the Fund
                                                                                                                 Fund
Line 16     Disbursements to CourUOther Not Paid by the Fund
Line 16a        lnvestment Expenses/CRIS Fees
Line 16b        Federal Tax       Payments                                      I

                                                                                I

              Total Disbursements to CourUother Not Paid                        the Fund:
Line 17     DC & State Tax

Line 18     No. of Claims:
Line 18a        # of Claims Received This Reporting Period ..... ...... .....
Line 18b        # of Claims Received Since lnception of Fund.............,
Line 19     No. of Claimants/lnvestors:
Line 19a        # of Claimantllnvestors Paid This Reporting Period .. ...
Line 19b        # of Claimants/lnvesfors Paid Since lnception of Fund..




                                                                                                        r,



                                                                                                             o              /
                                                                                    Date
                      Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 35 of 58
                                                       NA3PL, LP
                                                 Susan L. Uecker, Receiver
                                                       Balance Sheet
                                                    September 30,2017

                                                            ASSETS

Current Assets
Checking - Boston Private            s         560,462.46

Total Current Assets                                                  560,462.46

Property and Equipment

Total Property and Equipment                                                 0.00

Other Assets

Total Other Assets                                                           0.00

Total Assets                                                  $      560,462.46




                                               LIABILITIES AND CAPITAL

Current Liabilities
Investor Funding                     $         559,099.00

Total Current Liabilities                                            559,099.00

Long-Term Liabilities

Total Long-Term Liabilities                                                  0.00

Total Liabilities                                                    559,099.00

Capital
Turnover Funds                                     92s.00
Net Income                                         438.46

Total Capital                                                           1,363.46

Total Liabilities & Capital                                   $      s60,462.46




                                         Unaudited - For Management Purposes Only
                  Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 36 of 58
                                                                                    Page: I
                                                   NA3PL, LP
                                            Susan L. Uecker, Receiver
                                                 Income Statement
                                            For the Third Quarter 2017

                                     Current Quarter
Revenues
Interest Income                  $          362.24

Total Revenues                              362.24


Expenses
Office Expense                                40.39

Total Expenses                                40.39

Net Income                      $           321.85




                                         For Management Purposes Only
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 37 of 58
            STANDARDIZED FUND ACCOUNTING REPORT for NA3PL (Business)-cash Basis
            Receivership Civil Court Case No. 3:17-cv-00223-RS
                      Period       1to                2017

    D ACCOUNTING

                                                                                                                           451,114.39
    ,|
            Beglnning Balance (As of July 1,20171
            lncreases in Fund Balance:
Llne 2      Business lncome                                                                1,480,408.87    1,480,408.87
Line 3      Cash and Securities                                                                    0.00            0.00
    4       lnteresuDivldend lncome                                                                0.00            0.00
    5       Business Asset Llquidation
    6                Asset Liquidation
    7           rd-Pafi Litigation lncome
     8                      - Other                                                                 0.00           000
              Total Funds Available (Lines 1 - 8):                                         {,480,408.87    1,480,408.87   1,480,408.87

            Decreases in Fund Balance:
Line 9      Disbursements to lnvestors
Line 10     Disbursements for Receivership Operations
Line 10a    Disbursements to Receiver or Other Professionals
Line 10b    Eusiness Assef Expenses                                                        1,052,754.59    1,052,754.59
Line 10c    Personal Asset Expenses
Line 10d    lnvestment Expenses
Line 10e    Th ird- P arty Litig ation Expenses
                 1. Attorney Fees
                 2. Litigation Expenses
              Total
Line 10f    Tax Administrator Fees and Bonds
Line 109    Federal and State Iax Payments


     11     Disbursements for Distribution Expenses Pald by the Fund:
     11a       Di sti b ution Pla n Deve lo pme nt Ex pe n se s :
                 1. Fees:
                      Fund Administrator... ... .                  .


                      lndependent Distribution Consultant (lDC)..
                      Distribution Agent.............
                      Consultants.......
                      Legal Advisers...
                      Tax Advisers.       .. ..

                2. Administrative Expenses
                3. Miscellaneous
                Total Plan

Line 1lb       Di stri b ution Pla   n   I m ple   me ntatio           n   Expe n se s :
                1. Fees:
                      Fund Administrator.            .   ...   .


                      tDc..................
                      Distribution Agent... . .. ... ... ...
                      Consultants... ... .
                      Legal Advisers...
                      Tax Advisers...............
                2. Administrative Expenses
                3. lnvestor ldentification:
                     Notice/Publishing Approved Plan...
                     Claimant |dentification.................
                     Claims Processins                 .. . ..
                     Web Site Maintenance/Call Center... ... ...                       .


                4. Fund Administrator Bond
                5. Miscellaneous
                6. Federal Account for lnvestor Restitution
                (FAIR) Reporting Expenses
               Total Plan
                                                  for Distribution
     12     Disbursements to CouruOther:
    12a        lnvestment Expenses/Coutt Registry lnvestment
            System (CR/S/ Fees
    12b        Federal Tax Payments
             Total Disbursements to Court/Other:
             Total Funds Disbursed (Lines 9 - 1'l):                                                                       1,052,754.59
Line 13     Ending Balance (As of September 30, 2017):
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 38 of 58
Line   l4                             - Net                                                                                                                                     878,768.67
                Cash 8 Cash Equivalents                                                                                                           878,768.67
Line 14a
Line 14b         lnvestments
Line 14c        OtlrerAssets or lJncleared Funds
                                                                                                                                                  878,768.67                    878,768.67
               Total Endlng Balance of Fund - Net Assots


       ER SUPPLEMENTAL INFORMATION:
                                                                                                                                                                                                  Total

              Report   of ttems    NOT To Be Paid                             by the Fund:
       15          rsements for Plan Administration Expenses Not Paid by the Fund
       15a       Plan Developmenf Expenses Not Paid by the Fund:
                  1. Fees:
                       Fund Administrator.....
                        tDc.....
                        Distribution Agent.   .   .   .    ..       ... ... . ..    . .


                        Consultants.......
                        Legal Advisers...
                        Tax Advisers.....
                  2. Administrative Expenses
                  3. Miscellaneous
                 Total Plan                                                                          Not Paid

       15b       Plan lmplementation Expenses Not Paid by the Fund:
                  1. Fees:
                         Fund Administrator.          .   .    ... .. . ..    .   . .   .   .   ..   . .   . .
                                                                                                            .    . .   .   . . .


                         tDc..... ........
                         Distribution Agent...            ..    .   ... ... ...
                        Consultants.......
                        Legal Advisers..
                        Tax Advisers... ..
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                         Notice/Publishing Approved Plan... ... ... ... ......... ,.
                         Claimant ldentification... ...
                         Claims Processins
                         Web Site Maintenance/Call Center.....................
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses
                                                    Not Paid    the Fund
Line 15c         Tax Administrator Fees & Bonds Not Paid by the Fund
               Total Disbursements for Plan Administration                                                                                            Not Paid       the Fund
Line 16       Disbursements to Couruother Not Paid by the Fund:
 Line 16a        lnvestment Experrses/CR/S                               Fees
Line 16b         Federal Tax       Payments                                                                                        I

                                                                                                                                   I




Line 17       DG & State Tax

Line 18       No. of Claims:
 Line 18a        #of   Claims Received This Repoding                                                       Peiod........
Line   18b       # of Claims Received Since lnception of Fund......
Line   19     No. of Claimants/lnvestors:
Line   19a       # ol Claimants/lnvestors Paid This Repofting Peiod...
Line   19b       # of Claimants/lnyesfors Pard Srnce          ol Fund.                                                                   .   ..   .




                                                                                                                                                                                             ^?


                                                                                                                                                                 0        6
                                                                                                                                       Date
                                                   Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 39 of 58


 Run:10/11/17                                                                                                                                                                                                                    Page:    42

       1:58PM                                                               NORTH AMERICA 3PL, LLC
                                                                     G/L Detail Activity By Account - Cash Detailed>>
                                                                          Frorn   7 l0'l 12017   To   913012017 G/L   Account   1 1   4000 to 1 14200

Acct No. 114000                         Account Name B OF A- OPERATING X2073

 Date     Description                                                              Div/Bus        ld No.    System      Beg. Balance                    Debit                 Credit                 Net   Activity               Balance


 912912017 CHRN/N lnv:401 709-0095-1 Batch:496000003291 Seq:1                        '10
                                                                                                       1085297 CA               $81 9,781   .72         $17,925.00                         $o.oo           $17,925.00               $837,706.72

 114OOO                       B OF   A- OPERATING X2073                                                               $425,152.22 $1,480,408.87                         $1,067,854.37                $412,554.50                  $837,706.72


Acct No. 114200                         Account Name B OF A- PAYROLL X1566

Date     Description                                                              Div/Bus         ld No. System        Beg. Balance                     Debit                Credit                  Net Activity                Balance
 7/0512017 TRANSFER TO PR ACCT                    JE:496000002978                    10                 982491 JE                                                                          $o.oo            $21,000.00               $46,962.1 7
                                                                                           99                                    $25,962.1 7            $21,000.00
 711112017 TRANSFER TO PR ACCT                    JE:496000002979                    10    99           982509 JE                $46,962.1 7            $21,000.00                         $0.00            $21,000.00               $67,962.1 7

 7113/2017 PAYROLL SYSTEI\iIS, LLC           -0                                      10                 975970 CK                $67,962.1 7                 $0.00                    $3s8.34                    $(3s8.34)           $67,603.83

 711312017 PR ENDING 7/7 DISBURSE                 JE:496000002953                    10    99           982643 JE                $67,603.83                  $0.00                        $60.46                  $(60.46)           $67,s43.37

 711312017 PR ENDING 7r/ DISBURSE                 JE:496000002953                    10                 982644 JE                                            $0.00                    $422.97                    $(422.e7\           $67,1 20.40
                                                                                           99                                    $67,s43.37
 711312017 PR ENDING 7/7 DISBURSE                 JE:496000002953                    10    99           982645 JE                $67,1 20.40                 $0.00                    $233.s5                    $(233.55)           $66,886.85

 7/13/2017 PR ENDING    7'   DISBURSE             JE:496000002953                    10    99           982646 JE                $66,886.85                  $o.oo               $1,097.09                  $(1,0e7.09)              $65,789.76

 7113/2017 PR ENDING 7/7 DISBURSE                 JE:496000002953                    10    99           98?647 JE                $65,789.76                  $o.oo              $28,346.03                 $(28,346.03)              $37,443.73

 7113/2017 PR ENDING 7/7 DISBURSE                 JE:496000002953                    10    99           982548 JE                $37,M3.73                   $0.00              $1 ,130.36
                                                                                                                                                                                      1                    $(1   1 ,1   30.36)        $26,313.37

 711812017 TRANSFER TO PR ACCT                    JE:496000002980                    10    99           982785 JE                $26,313.37             $21,000.00                         $0.00            $21,000.00                $47,313.37

 712512017 TRANSFER TO PR ACCT                    JE:496000002981                    10    99           982924 JE                $47,31 3.37            $21,000.00                         $0.00            $21,000.00                $68,313.37

 7/27/2017 PAYROLL SYSTEMS, LLC              -0                                      10                 976424 CK                $68,31 3.37                 $0.00                    $1 12.40                   $(1 12.40)           $68,200.97

 71271?017 PR ENDING 7/22 DISBURSE                JE:496000003003                    10    99           982998 JE                                            $o.oo              $30,748.06                 $(30,748.06)               $37,452.91
                                                                                                                                 $68,200.97
 712712017 PR ENDING 7/22 DISBURSE                JE:496000003003                    10    99           982999 JE                $37,452.91                  $0'00              $11,559.27                 $(1 1,ssg.27)              $2s,893.64

 712712017 PR ENDING 7/22 DISBURSE                JE:496000003003                    10    99           983000 JE                s25,893.64                  $0.00                         $60.46                  $(60.46)           $25,833.1 8

 8IO1I2O17 TRANS TO PR ACCT                   JE:496000003060                        10    99          1076800 JE                $25,833.1   I          $21,000.00                          $0.00            $21,000.00               $46,833.1       I
 8IO8I2O17 TRANS TO PR ACCT                  JE:496000003061                         10    99          1076975 JE                $46,833.1 8            $21,000.00                          $0.00            $21 ,000.00              $67,833.1       I
 8/10/2017 PAYROLL SYSTEMS, LLC              -0                                      10                1075885 CK                $67,833.1 8                    $0.00                     $335.84                $(335.84)            $67,497.34

 8I1OI2O17 PR ENDING 8/5 DISBURSE                 JE:496000003075                    10    99          1077043 JE                $67,497.34                     $0.00            $29,769.89                $(29,769.8s)               $37,7?7 .45

 8I1OI2O17 PR ENDING 8/5 DISBURSE                 JE:496000003075                    10    99          1077044 JE                $37,727.45                     $0.00            $1   1   ,167.61          $(1 1,167.61)              $26,559.84

 8I1OI?017 PR ENDING 8/5 DISBURSE                 JE:496000003075                    10    99          1077045 JE                $25,559.84                     $0.00                      $60.46                   $(60.46)          $26,499.38

 8115/2017 TRANS TO PR ACCT                  JE:496000003062                         10    99          1077140 JE                $26,499.38             $21,000.00                          $0.00            $21,000.00               $47,499.38

81222017 TRANS TO PR ACCT                    JE:496000003063                         10    99          1077368 JE                $47,499.38             $21,000.00                          $0.00            $21,000.00               $68,499.38

8124/2017 PAYROLL SYSTEMS, LLC               -0                                      10                1076342 CK                $68,499.38                     $0.00                     $1 12.40                $(1 1 2.40)            $68,386.98

 812412017 PR ENDING 8/18 DISBURSE                JE:4960000031 23                   10 99             1077418 JE                $68,386.98                     $0.00            $32,210.79                 $(32,21 0.79)                $36,1 76.1   I
 812412017 PR ENDING 8/18 DISBURSE                JE:4960000031 23                   10 99             1077419 JE                $36,1 76.19                    $o.oo            $12,278.74                 $(12,278.74)                 $2s,897.45

 812412017 PR ENDING 8/18 DISBURSE                JE:4960000031 23                   10    99          1077420 JE                $23,897.4s                     $o.oo                      $60.46                   $(60.46)             $2s,836.99
                                                        Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 40 of 58


Run:10/11/17                                                                                                                                                                                                     Page:   43

        1:58PM                                                                  NORTH AMERICA 3PL, LLC
                                                                         G/L Detail Activity By Account - Cash Detailed>>
                                                                              From   710112017   To   913012017 G/L   Account 114000 to 114200

Acct No. 114200                           Account Name B OF A- PAYROLL X1566

Date         Description                                                              Div/Bus     ld No.    System      Beg. Balance                Debit              Credit            Net   Activity           Balance


8129t?017    TRANS TO PR  ACCT                 JE:496000003064                         10   99         1077563 JE             $23,836.99           $21,000.00                   $0.00           $21,000.00           $44,836.99

910512017    TRANS TO PR  ACCT                 JE:496000003186                         10   99         1084672 JE             $44,836.99           $21,000.00                   $0.00           $21,000.00           $65,836.99

910712017    PAYROLL SYSTEI'S, LLC            -   O                                    10              1083445 CK             $6s,835.99                 $0.00              $1 14.29              $(1 1 4.29)        $65,722.70

910712017    PR ENDING 9/1 DISBURSE                   JE:496000003176                  10   99         1084719 JE             $6s,722.70                 $0.00              $367.00               $(367.00)          $65,355.70

9t07t2017    PR ENDING 9/1 DISBURSE                   JE:496000003176                  10   99         1084720 JE             $65,355.70                 $0.00               $60.46                $(50.46)          $65,295.24

910712017    PR ENDING 9/1 DISBURSE                   JE:496000003176                  10   99         1084721 JE             $65,295.24                 $0.00           $31 ,219.85           $(31 ,21 9.85)        $34,075.39

910712017    PR ENDING 9/1 DISBUBSE                   JE:496000003'176                 10   99         1084722 JE             $34,07s.39                 $0'00           $12,268.33            $(1 2,268.33)         $21,807.06

911212017    TRANS TO PR ACCT                  JE:496000003187                         10   99         1084779 JE             $21,807.06           $21,000.00                   $0.00           $21,000.00           $42,807.06

9119t2017    TRANS TO PR ACCT                  JE:496000003188                         '10 99          1085006 JE             $42,807.06           $21,000.00                   $0.00           $21,000.00           $63,807.06

9121t2017    PAYROLL SYSTEMS, LLC             -   O                                    10              '1083873 CK            $63,807.06                 $0.00              $345.20               $(34s.20)          $63,461.86

912112017                       -0                                                     10              1083875 CK             $63,461.86                 $0.00              $103.30               $(1   03.30)       $63,358.56

9/21/?O'17                      -0                                                     10              1084037 CK             $6s,3s8.56              $103.30                   $0.00               $1   03.30       $63,461.86

912'U2017    PR ENDING 9/15 DISBURSE                  JE:496000003223                  10   99         1085062 JE             $63,461.86                 $0.00            $1,039.76             $(1,03e.76)          562,422.10

912'12017    PR ENDING 9/15 DISBURSE                  JE:496000003223                  10   99         1085063 JE             $62,422.10                 $o'oo           $30,067.24            $(30,067.24)          $32,354.86

9121t2017    PR ENDING 9/15 DISBURSE                  JE:496000003223                  10   99         1085064 JE             $32,354.86                 $0.00           $11,907.84            $(1 1,s07.84)         $20,447.02

9/21t2017    PR ENDING 9/15 DISBURSE                  JE:496000003223                  10   99         1085065 JE             $20,447.02                 $0.00              $324.61                $(324.61 )         $20,122.41

9121t2017    PR ENDING 9/15 DISBURSE                  JE:496000003223                  10   99         1085066 JE             $20,122.41                 $0.00                  $60.46              $(60.46)          $20,061.95

9t26/2017    TRANS TO PR ACCT                  JE:496000003189                         10   99         1085194 JE             $20,061.95           $21,000.00                    $0'00           $21,000.00           $41,061.95

114200                        B OF   A.   PAYROLL X1566                                                                 $25,962.17         $273,103.30             $258,003.52            $15,099.78                $41,061.95



                                                                                                                                                 Debit                      Credit

                                                                                                                                             $1 ,753,51     2.17          $1,325,857.89
            Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 41 of 58

                                                                         Dynamics Receivership-cash Basis
             STANDARDIZED FUND ACcouNTtNG REpoRT for Berkeley Healthcare
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                         Period:          1to                                            2017


         ACCOUNTING

             Beginning Batance (As of July 1,20171
             lncreases in Fund Balance:
                       lncome                                                                    210,000.00              210,000.00
 ne 2
                   and Securities                                                                    6s7.08                  657.08
Line 3
Line 4       lnteresuDividend lncome
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
     7       Third-Party Lltigation lncome
     8       Miscellaneous - Other
               Total Funds Avallable (Llnes I                              -    8):              210,657.08              2't0,657.08        527,827.51

             Decreases in Fund Balance:
     9                             to lnvestors
  ne 10                           for Receivership Operations
     10a                         to Receiver or Other Professionals
     10b                Assef Expenses                                                           1 1
                                                                                                       '1
                                                                                                            ,1   30.34   111,130.34
     10c                Asset Expenses
Line 10d     lnvestment Expenses
Line 10e     Third-Pafty Litigation Expenses
                 1. Attorney Fees
                 2. Litigation Expenses
               Total
Line 10f     Tax Administrator Fees and Bonds
Line 109     Federal and State Tax Payments
                                                                                                 11'l                    't   11   130.34   111 '130.34

Line 1'l     Disbursements for Distribution Expenses Paid by the Fund:
     11a        Distibution Plan Developmenf Expenses:
                  1. Fees:
                         Fund Administrator..
                         lndependent Distribution Consultant (lDC)...... ... ..
                         Distribution Agent... .. . . .. ... ...
                         Consultants... ... .
                         Legal Advisers...
                         Tax Advisers.....
                 2. Administrative Expenses
                 3. Miscellaneous


Line 11b        Distibution Plan lmplementation Expenses:
                 1. Fees:
                         Fund Administrator..         .   . .   .   ... ... ... ... ..
                         tDc..................
                         Distribution Agent.....
                         Consultants.......
                         Legal Advisers...
                         Tax Advisers... ..
                 2. Administrative Expenses
                 3. lnvestor ldentification:
                      Notice/Publishing Approved P|an...... ... ..............
                      Claimant ldentification......
                      Claims ProcessinS
                      Web Site Maintenance/Call Center... ... ....... ........
                 4. Fund Administrator Bond
                 5- Miscellaneous
                 6. Federal Account for lnvestor Restitution
                 (FAIR) Reporting Expenses
                Total Plan
               Total Disbursements for
     12                            to CourUOther:
     12a        I nve   stme nt Expe    n se   s/Co       u     rt    Regi stry I nve stm e nt
             System (CR/S) Fees
     12b        Federal Tax Payments
              Total Disbursements to CourUOther:
              Total Funds Disbursed (Lines 9 - 11):                                                                                         111,130.34
     13      Ending Balance (As of September 30,20171:




                                                                                                                                                          /
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 42 of 58
     4                           und                  -                                         416,697.17          416,697.17
    14a        Cash & Cash Equivalents
     14b        lnvestments
Line 14c       Other Assets or lJncleared Funds
                                                                                                4'.t6,697.17        416,697.17
              Total Endlng Balance of Fund - Net Assets


          SUPPLEMENTAL                          .TION


                         of ltems         NOT To Be Paid bY the Fund:

Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a        Plan Development Expenses Not Paid by the Fund:
                  1- Fees:
                       Fund Administrator.............. .....
                          IDc..................
                          Distribution Agent... ... ... ... ...
                          Consultants.......
                          Legal Advisers...
                          Tax Advisers... ..
                  2. Administrative ExPenses
                  3. Miscellaneous


Line 15b        Plan lmptementation Expenses Not Paid by the Fund:
                  '1
                       . Fees:
                           Fund Administrator... ...                .   ..   . . ... ... ..
                           tDc................
                           Distribution Agent.        .   .   ... ... ... ...
                           Consultants... ...     .


                           Legal Advisers...
                           Tax Advisers... ..
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                           Notice/Publishing Approved P|an.......................
                           Claimant ldentifi cation......
                       Claims ProcessinS..... . . ... .......
                       Web Site Maintenance/Call Center............. ........
                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. FAIR Reporting Expenses

     1*          Tax Administrator Fees & Bonds Not Paid by the Fund


     16                                   to CourUOther Not Paid by the Fund:
     16a         I nve   st m penses/CR/S Fees
                                e   nt   Ex
     16b         Federal Tax Payments


     17      DC & State Tax

     18      No. of Claims:
     18a        # of Claims Received This Repoding Peiod............
     18b        # of Claims Received Since lnception of Fund...........
     19      No. of Claimants/lnvestors:
     19a        # of Claimants/lnvestors Paid This Repofting Peiod...............
     19b        # of Claimants/lnvestors Paid Since          of Fund. .. . .. . .. ..



                                                                                                                                 et   i/t--

                                                                                                               <)

                                                                                              Date
                          Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 43 of 58


                                                     Berkeley Healthcare Dynamics, LLC                                          l0l1ll2117 3:34 PM
Register: l l l00 . East West Bank xxxx8923
From 07/01/2017 through 0913012017
Sorted by: Date, Type. Number/Ref
Date            Number         Payee                  Account                          Memo                 Payment     C     Deposit        Balance


07/03t20r7                                             I   2000   Undeposited   F...   Deposit                          x   70,000.00      387,170.43

07t03t20t'7                    East West Bank          63000      Interest Expense                           4,042.47 X                    383,121.96
07/03t20t7                     East West Bank         -split-                                               28,44t.17 X                    354,686.79
07   t03t20t]                  East West Bank          88300      Bank Fees                                     0.15 x                     354,686.64
07103t20t7      1066           Travelers               53000      Insurance                                  4,081.40   x                  350,605.24
o7lt0t20t7                     Ea-st   West Bank       88300      Bank Fees            Reverse                          x        0.   l5   350,605.39
07t25t2017      1067           Haynie & Company        88   r00 Accounting                                   2,000.00   x                  348,605.39
08t0U20t7                      East West Bank         63000       Interest Expense                           3.099.04 X                    345,s06.35
0810U2017                      East West Bank         -split-                                               27,137.06 X                    3t8,369.29
08101t2017      1068           Travelers              53000       Insurance                                 4,081.40 X                     314,287.89
08t02t20t7                                             12000      Undeposited F...     Deposit                          X   70,000.00      384,287.89
08/30t2017                                             I   2000   Undeposited F...     Deposit                          x   70,000.00      454,287.89
0910U2017                      East West Brurk        63000       Interest Expense                          3,307.58 X                     450,980.31
09l0Uzlt7                      East West Bank         -splir                                                28.340.22 X                    422,640.09
09t13t2017                                             lril0      East West Ban...     Close xx2983 ...              x        657.08       423,297.t7
09/1st20t'7     1069           Franchise Tax Bourd    89000       Taxes                2016 FTB Tax         2,500.00 x                     420,797.17
09/15t20u       1070           Franchise Tax Board    89000       Taxes                2016 FTB Tax    ..     800.00 x                     419,997.17
09n5t20t7       t07   1        Franchise Tax Board    89000       Taxes                2017 FTB Est ...     2,500.00 x                     417.497.17
09n5t2017       to12           Franchise Tax Board    89000       Taxes                2017   LLCTax          800.00 x                     416,697.t7




                                                                          Page I
                      Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 44 of 58


                                                      Berkeley Healthcare Dynamics, LLC                                 l0llll20l7   3:35 PM

Register: I I I   l0 . East West Bank xxxx2983 (LP)
From 07/01/20 17 through 09 13012017
Sorted by: Date, Type. Number/Ref
Date              Number      Payee                    Account                      Memo                 Payment   C   Deposit       Balance


07t3U2017                     East West Bank           88300. Bank Fees             CPA adjust to c...     14.00                      671.08
08t31t20t7                    East West Bank           88300. Bank Fees             CPA adjust to c...     14.00                      657.08
09t13t20t'7                                             I I100 . East West Ban...   Close xx2983 ...      657.08                        0.00




                                                                        Page I
             Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 45 of 58
             STANDARDIZED FUND AccouNTING REPORT for comprehensive
                                                                   care of oakland Receivership-cash Basis
             Receivership Civil Court Case No. 3:'17-cv-00223-RS
                       Period: J    1to                2017

FUND ACCOUNTING
                                                                                                                                                       Reference
                                                                                                                                        1,583,148.46
Line   1     Beginning Balance (As of July 1,20171
             Increases in Fund Balance:
       2     Business lncome                                                                              4,192,537.22   4,192,537.22
                                                                                                                                                           ,|
 ne 3        Cash and Securities-Adiustments to A/R and O/S                                                 218,856.59     218,856.59
    4        lnteresuDavidend lncome                                                                             45.23          45.23
       5              rAsset Liquidation
Line 6                 Asset Liquidation
Line 7                   Litigation lncome
Line 8                       - Other
               Total Funds Available (Lines 1 8):                             -                           4,411,439.04   4,411,439.04   5,994,587.50

             Decreases in Fund Balance:
Line 9       Disbursements to lnvestors
Line 10      Disbursements for Receivership Operations
Line 10a     Disbursements to Receiver or Other Professionals
Line 10b     Busrness Assel Expenses                                                                      3,260,755.93   3,260,755.93
Line 10c     Personal Asset Expenses
       10d   lnvestment Expenses
       10e   Thnd-Party Litigation Expenses
                 1. Attorney Fees
                 2. Litigation Expenses


       10f   Tax Administrator Fees and Bonds
       1og   Federal and State Tax Payments
                                                                                                                755.93         755.93   3     75s.93

       11    Disbursements for Distribution Expenses Paid by the Fund:
       11a      D istrib utio n Pla n Deve lo pme nt Expe n se s :
                  1. Fees:
                        Fund Administrator..
                        lndependent Distribution Consultant (lDC)..
                        Distribution Agent..
                        Consultants..
                        Legal Advisers........
                        Tax Advisers... ... ... .
                  2. Administrative Expenses
                  3. Miscellaneous
                       Plan
       11b       D istrib   ution   P Ia   n   Im   ple me   ntation               Ex pe   n   se s:
                  1. Fees:
                        Fund Administrator... ... ... ... ... ... ........ ... ...
                        tDC............
                        Distribution Agent.. . ... ...            ..   .   . . .


                        Consultants.......
                        Legal Advisers...
                        Tax Advisers... ..
                  2. Administrative Expenses
                  3. lnvestor ldentification:
                        Notice/Publishing Approved P|an........................
                        Claimant ldentification... ...
                        Claims ProcessinS.....................
                        Web Site Maintenance/Call Center... ... ...                                .


                  4. Fund Administrator Bond
                  5. Miscellaneous
                  6. Federal Account for lnvestor Restitution
                  (FAIR) Reporting Expenses

                      Disbursements for Distribution                                                   Paid   the
Line 12      Disbursements to CourUOther:
Line 12a        I nve stme nt Ex pe n se s/Co                u   ft    Reg i stry I nve stme nt
             Sysfem (CR/S) Fees
Line 12b        Federal Tax Payments
              Total Disbursements to CourUOther:
              Total Funds Disbursed (Lines 9 - 11):                                                                                     3,260,755.93
Line 13      Ending Balance (As of September 30, 2017):                                                                                 2,733,831.57
           Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 46 of 58
Line 14                                           - Net
Line 14a       Cash & Cash Equivalents                                             2,733,831 .57      2,733,831.57
Line 14b       lnvestments
Line 14c       OlherAssels or lJncleared Funds
             Total Ending Balance of Fund - Net Assets                             2,733,831.57       2,733,831 .57     2,733,831.57


OTHER SUPPLEMENTAL INFORMATION
                                                                                                                        Grand Total
           Report of ltems NOT To Be Paid by the Fund:
Line 15    Disbursements for Plan Administration Expenses Not paid by the Fund:
Line 15a       Plan Development Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator.......
                     tDc.......... . .....
                     Distribution Agent.............
                     Consultants... .. .     .


                     Legal Advisers...
                     Tax Advisers.....
                2. Administrative Expenses
                3. Miscellaneous
                                                                     Not
Line 15b       Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                     Fund Administrator..          .   ... ... ...
                     tDC..................
                     Distribution Agent.....
                     Consultants... ... .
                     Legal Advisers...
                     Tax Advisers.....
                2. Administrative Expenses
                3. lnveslor ldentification:
                     Notice/Publishing Approved P|an........................
                     Claimant ldentification......
                     Claims Processing
                     Web Site MaintenanceiCall Center......................
                4. Fund Administrator Bond
                5. Miscellaneous
                6. FAIR Reporting Expenses
                                                                                   Fund
Line 15c       Tax Administrator Fees & Bonds Not Paid by the Fund
            Total Disbursements for Plan Administration                                   Not Paid     the Fund
Line 16    Disbursements to CourUOther Not Paid by the Fund:
Line 16a       lnvestment ExpenseVCRlS Fees
                              Payments                                         I

Line 16b      Federal Tax                                                      I




Line 17        & State Tax

Line 18    No. of Claims:
Line 18a      # of Claims Received This Repofting Period..... .............
Line 18b      #of Claims Received Since lnception of Fund................
Line 19    No. of Claimants/lnvestors:
Line 19a      # of Claimants/lnvestors Paid This Reporiing Period . . ... . .         .



Line 19b      # of Claimants/lnvestors Paid Since lnception of Fund. ....



   Ref
    #                                            Item                               Amount                      Notes
                                                                                    218,856.59 The actual cash turned over to
                                                                                                     changed after a external review revealed that
                                                                                                     accounts receivable and bank reconciliations
                                                                                                     needed to be updated.



                                                                                                                               :y'1^


                                                                                   Date
                                                                                             /'/      r o tr*
Comprehensive Care of Oakland,
                                CaseLP3:17-cv-00223-RS            Document 246 Filed 10/17/17 Page 47 of 58
                                      dba Bay Area Healthcare Center
                                                                         Summit Bank - Operating Account x8013
                                                                                                                                          Wthdrawal              Running

             Date      Ref#
                                                                                                                                              185.00        1,454,590.36
    07103117           5059     ACME Fire Extinguisher Compar Check - annual maintenance
                                                                                                                                              753.89        1,453,836.47
    07103117           5061     American Healthtech,  lnc     Check
                                                                                                                                               77.99        1,453,758.48
    07t03117           5069     DIRECTV                           Check
                                                                                                                                                            1,451,998.48
                                                                                                                                             1,760.00
    07103117           507',1   JDS Medwaste    Mgmt.                 Check
                                                                                                                                                50.00       1,451,948.48
    07to3117           5074     Larrie Noble  Sr.                     Check - music entertainment
                                                                                                                                            8,201.50        1,443,746.98
    07to3117           5078     PG&E                                  Check
                                                           LLC        Check                                                                   505.01        1,443,241.97
    07103117           5079     PNC Equipment Finance,
                                                                                                                                                            1,443,204.97
    07lo3l17           5085     YP                                    Check                                                                     37.00
                                                                                                                                                'r
                                                                                                                                                     0.04   1,443,194.93
    07103117                    IRS                                   IRS USATAXPYMT 27O758ILO972855 COMPREHEN
                                                                                                                                                     0.59   1,443,194.34
    07t03117                    EDD                                   EMPLOYMENT DEVEL EDD EFTPMT 2045139840
                                                                                                                                                            1,451,254.34
     07103117                   Kaiser                                KP FINANCIAL SVC VENDPAYMTS                              8,060.00
                                                                                                                                                            1.451,124.13
     07to3117                   Fees                                  MERCHANT EANKCD INTERCHNG 256005295883                                   130.21
                                                                                                                                                            1,457,324.13
     07103117                   Kaiser                                KAISER FOUNDATIO      TRNrl*000002500034107*L            6,200.00
                                Fees                                  MERCHANT BANKCD       FEE   266005295883      BAY                         48.55       1,457,275.58
     07103117
                                Deposit                               MERCHANT BANKCD DEPOSIT 256005295883                     4,922.00                     1,462,197.58
     07103117
     07103117                   Fees                                  MERCHANT BANKCD DISCOUNT 266005295883                                     31.24       1,462,166.34
     071o5117          5038     Franchise Tax   Board                 Check - state taxes                                                   18,972.s8       1,443,193.76
     07105117          5062     8ay Janitorial Supply, lnc.           Check                                                                  1,498.91       1,44'1     ,694.85
     07105117          5063     Briggs Healthcare                     Check                                                                     78.53       1,441 ,616.32

     07tost17          5070     Health Net lnc                        Check                                                                    418.24       1    ,44'1 ,1   98.08
     071o5117          5073     Kaiser Permanente                     Check                                                                     86.00       1,441 ,112.08

     07105117          5075     Network Therapies, lnc.               Check                                                                 49,864.72       1,391,247.36
     07to5117          5076     Office of Statewide Health Plann Check - special fee                                                         3,188.00       1,388,059.36
     07105117          5080      RDs for   Healthcare                 Check                                                                     96.96       1,387,962.40
     07105117          5081     Schradeas Medical Supply    lnc       Check                                                                  5,968.74       1,381,993.66
     07tost17          5082     Schryver Medical,  lnc                Check                                                                  3,142.64       1,378,851.02
     071o5t17          5083     SimpleLTC, lnc.                       Check                                                                     82.00       1,378,769.O2
     07105117          5087                  California
                                Blue Shield of                        Check                                                                    427.22       1,378,341.80
     07t05t17          5089      NATIONWIDE                           Check - Pt Trust Fun 2O!7 Renewal                                        300.00       1,378,041.80
     07to5117          5090      EZ Way lnc.                          Check - Harness lg                                                       681.35       1,377,360.45
     07105117                    IRS                                  IRS USATAXPYMT 27075863OL42000 COMPREHEN                               4,852.49       1,372,507.96
     07t05t17                    EDD                                  EMPLOYMENT DEVEL EDD EFTPMT942550480                                   1,146.13       1,371,361.83
     07 tost17                   Kaiser                               KAISER FOUNDATIO TRN*1*000002500034624+1               126,000.00                     1,497,361.83
     07t05117                    Fees                                 AUTHNETGATEWAY BILLING 9737027I                                                7.95   1,497,353.88
     07t06t17          5065      Community Mobile Diagnostics         Check                                                                  2,768.63       1,494,585.25
     07106117          5068      Diagnostic Laboratories SL           Check - Employee Lab                                                   3,946.91       1,490,638.34
     07t06t17          5072      Kaiser Permanente                    Check                                                                    432.36       1,490,205.98
     07t06t17          5084      Smartlinx Solutions LLC              Check - implementation hours                                             992.60       'l
                                                                                                                                                             ,489,213.38
     07t06117          5088      Enisa Trokic                         Check                                                                    838.61       1,488,374.77
     07t06t17          5097      Petty Cash                           Check                                                                  1,870.00       1,486,504.77
     07t06t17                    Deposit                              Regular Deposit                                         27,805.24                     1    ,514,310.01
     07106117                    Deposit                              KP FINANCIAL SVC VENDPAYMTS                                564.96                     1,514,874.97
     07106117                    EDD                                  EMPLOYMENT DEVEL EDD EFTPMT 2018130816                                 3,317.73       1,511,557.24
     07107t17                    IRS                                  IRS USATAXPYMT 270758893610899           COMPREH EN                      623.07       1,510,934.17
     07to7t17                    Fees                                 PAYMENT SERVICE BILLINGFEE CKF218443508P                                       4.95   1,510,929.22
     07110117                   Transfer                              Transfer to DDA L20f,4f.472                                          316,600.00       1,194,329.22
     07 l1   1   t17            Deposit                               cA DHCS M EDt-CAL TRN * 1*050455370+ 1680217           305,491.97                     1,499,821.19
                                                                                                  +
     07111117                    Deposit                              KATSER FOU NDATTO TRN           1+000002500035301* 1     4,998.00                     'l
                                                                                                                                                                 ,504,8'19.19
     07 t1   1   t17             Republic Indemnity                   REPUBLTC tNDEMNT      8183821060 1001                                 22,230.80       1,482,588.39
     07t12t17          5067      Dept of Health Care Services         Check - May 2OL7 2456 @15.95                                          39,173.20       1,443,415.19
     07112117          5077      Perry Lightfoot                      Check                                                                     50.00       1,443,365.19
     07112t17          5107      Network Therapies, lnc.              Check                                                                 12.667.05       'l   ,430,698.14
     07112117          s1 30     Shirley Ma                           Check                                                                  7.387.45       1,423,310.69
     07t12t17                    Deposit                              KATSER FOUN DATTO TRN       *1*000002500035555*1         4,340.00                     1,427,650.69
     07112117                                                         M ERCHANT BAN KCD DEPOSIT 255005295883                   2,024.00                     1,429,674.69
     07113117          5'103           LLC
                                Airgas USA,                           Check                                                                  2,621.54       1,427,O53.15
     07113117          51 13    TPx Communications                    Check                                                                    963.87       1,426,089.28
     07113117          5117      Evergreen lnternational Group,   L   Check                                                                  1,688.40       1,424,400.88
     07113117          51 18     Golden Chariot Bakery & Restau Check -       DSD   Staff Education                                            577.37       1,423,823.51
     07113t17          5127      Rodney M.Fukumitsu                   Check - June 2017                                                        450.00       1,423,373.51
     07 113117         5129      Michael Chau                         Check - June 2017 expense report                                       1,887.71       1,421,485.80


                                                                        Summit Bank - Operating Account x8013
                          Case 3:17-cv-00223-RS Summit
                                                  Document       246 Account
                                                       Bank - Operating Filedx8013
                                                                               10/17/17 Page 48 of 58
                                                                                                   Withdrawal                                         Ru

        Date         f
                                                                                                                                      307.49     1,421,178.31
07113117        513'1     ElisaMa                         Check
                                                                                                                     71,355.19                   1,492,533.50
07113117                  Deposit                         Regular DePosit
                                                                                                                      8,262.12                   1,500,795.62
07113117                  Deposit                         KAISER FOUNDATIO      TRN*1I000002500035745+1
                                                                                                                      4,824.00                    ,505,619.62
07t13117                  Deposit                         MERCHANT BANKCD DEPoslT 256005295883                                                   1

                                                                                                                                       77.08     1,505,542.54
07114t17        51 04     AT & T                          Check
                                                                                                                                      177.75     1,505,364.79
07114117        5't 09    Pharmerica                      Check - orig. inv date 05/74117
                                            Services  Check                                                                           341 .34    1,505,023.4s
07114117        5112      Toshiba Financial
                                                                                                                                     5,312.30    1,499,711.15
07 t14t17       5114      Waste Management of Alameda Check
07t14t17        5'l '15                        lnc
                          Zoom lmaging Solutions      Check                                                                             81 .83   1,499,629.32

07t14117        51 16                    lnc.
                          Ability Networks,               Check - 050117-063017                                                       194.00     1,499,435.32

07114117        5't 19    Harbor Bay  Club                Check - HBC Fitness membership                                              257.OO     1,499,178.32

07l14l'17       5126                         lnc.
                          Sysco San Francisco,            Check                                                                      4,016.63    1    ,495,1 61 .69

07 I   I 4t17   5128      DIRECTV                         Check                                                                        100.24    1,495,061.45
07114117                  tRs                             lRs USATAXPYMT 2707595O7L94228 COMPREHEN                                  87,592.96    1,407,468.49
07t14117                  Deposit                         KAISER FOUNDATIO TRN*1+000002500035809*1                     1,984.0'1                 1,409,452.50
07t14117                  EDD                             EMPLOYMENT DEVEL EDD EFTPMT 279051136                                     13,226.77    1,396,225.73
07117117        5064      Carmella Mazzella               Check - April & May                                                       20,865.00    1,375,360.73
07117117        5091      Miguel's Steam Cleaning         Check                                                                       500.00     1,374,860.73
07 t17   t17    5105      Chubb & Son                     Check - Policy Jul 15,2017 to Jul 15, 2018                                 4,886.75    1,369,973.98
07 t17   t17    5106      Kaiser Foundation Health Plan lr Check                                                                    60,205.53    1,309,768.45
07 t17   t17    51'1 t    Samir Sairam MD,  lnc            Check - May & June Med fir fee                                            2,000.00    1,307,768.45
07 117 117      5120      Judy Wong    RN                  Check - 36 hours @S50                                                     1,800.00    1,305,968.45
07 117 117      5121      Public Storage                  Check - July 2017 Space Rental                                               127.00    1,305,841.45
07 t17 t17                Deposit                         Re8ular Deposit                                             20,646.33                  1,326,487.78
07 117 117                Deposit                         CA DHCS MEDI-CAL TRNrl*0504il078*1680217                    81 ,825.21                 1 ,408,312.99
07 t17 117                Deposit                         KAISER FOUNDATIO TRNtl*000002500035039*1                    28,520.00                  '1
                                                                                                                                                   ,436,832.99
07118117        51   35   Airgas USA, LLC                 Check                                                                      1,060.29    't,435,772.70
07t18t17        5147      YP                              Check                                                                         37.00    't,435,735.70
07t19117        451 0     Magdalena Hernandez             Check                                                                         50.00    1,435,685.70
07t't9t't7      51   36   Allcripts Healthcare, LLC       Check                                                                      1,050.00    1,434,635.70
07119117        5'139     Magdalena Hernandez             Check                                                                        529.89    1,434,105.81
07t19t17        51   40   Michael Chen                    Check                                                                      2,450.28    1,431,655.53
07t19t17        5142      Pacific Signaling Systems       Check                                                                        330.00    1,431 ,32s.53
07t19t17        5145      Sonic.net, lnc.                 Check                                                                      1,172.40    1    ,430,1 53.1 3
07t19t17        5146      Sysco San Francisco, lnc.       Check                                                                      2,860.66    1,427,292.47
07t19t17                  Deposit                         KP FINANCIAL SVC VENDPAYMTS                                  7,1 80.00                 1,434,472.47
07t19t17                  Deposit                         KAISER FOUNDATIO TRN+1*000002500035673i1                       975.50                  1,435,447.97
07120t17                   IRS                            Payroll Taxes                                                                851.66    1,434,596.31
07t20t17                   EDD                            Payroll Taxes                                                                 80.53    1,434,515.78
07t20t17        5144      SimpleLTC, lnc.                 Check                                                                         82.00    1,434,433.78
07t20t17                  Deposit                         MERCHANT BANKCD DEPOSIT 266005295883                         2,980.00                  1,437,413.78
07t20t17                  Deposit                         KATSER FOU N DATTO TRN *      1+000002500035850* 1           1,350.00                  1,438,763.78
07121117        5141      Omega Pest Control              Check                                                                         75.00    1,438,688.78
07t21117                  Loan Payment x9386              Transfer to Loan 1019385                                                   6,422.74    1,432,266.04
07t2'U17                  Transfer                        Transfer to DDA 120040472                                                245,000.00    1,187 ,266.04
071211't7                 Transfer                        Transfei from DDA 120040472                                105,000.00                  'l,292,266.04
07t21t17                  Deposit                         KATSER FOU NDATTO TRN *       1r000002500035958*       1    52,080.00                  1,344,346.04
07124117        5182      American Express x2006          Check                                                                     79,543.54    1,264,802.50
07124117                  Deposit                         Regular Deposit                                              6,422.74                  1,271,225.24
07124117                  Deposit                         cA DHCS M E DI-CAL    TRN *   t* 05047 2660* 16802t7       162,039.70                  1,433,264.94
07t25117        51   53   Petty Cash                      Check                                                                       459.50     1,432,805.44
07125117        51   55   Queenie Guen                    Check                                                                      1,O27.34    1,43',t,778.10
07t25t17        51 56     San Francisco Chronicle         Check                                                                        171 .60   1,431,606.50
07125117                  Deposit                         Regular Deposit                                             95,868.1 0                 1,527,474.60
07125117                  Deposit                         KP FINANCIAL SVC VENDPAYMTS                                 18,900.00                  1,546,374.60
07 t26t17       51 51     Judy Wong RN                    Check                                                                      1,900.00    1,544,474.60
07 t26t17       5154      PG&E                            Check                                                                      9,640.73    1,534,833.87
07t26t17                  Deposit                         KA|SER FOU NDATTO TRN *       1r000002500037198*   1       47,951.56                   1,582,785.43
07127t17                  IRS                             IRS                                                                         284.51     1,582,500.92
07t27117                  EDD                             EDD                                                                           27.48    1,582,473.44
07t27t17                  Deposit                         KATSER FOU N DATTO TRN* 1+000002500037598*         L        15,270.27                  1,597,743.71
07t27t17                  Deposit                         MERCHANT BANKCD DEPOSIT 266005295883                           500.00                  I ,598,243.71


                                                            Summit Bank - Operating Account x8013
                        Case 3:17-cv-00223-RS Summit
                                                Document       246 Account
                                                     Bank - Operating Filedx8013
                                                                             10/17/17 Page 49 of 58
                                                                                                                                      withdrawal
Bank   Date   Ref#      Pay€e   I                                                                                                              250.00    1,597,993.71
07t28117      5152      Max Huang                           Check
                                                            40          1019215                                                         12,501.85        1,585,491.86
07t281'17               Summit Loan x9215
                                                                                                                                        93,603.11        't,491,888.75
07t28117                IRS                                 IRS USATAXPYMT 27 07 60904335026 COM PRE H EN

07t28117                Deposit
                                                                                    *
                                                            KATSER FOU N DATI O TR N 1+ 0000025000377 82*            I   24,300.00                       1,516,188.75
                                                            EMPLOYMENT DEVEL EDD EFTPMT 253568896                                       14,483.41        1,501,705.34
07t28117                EDD
                        G & S Fire Protection, lnc.         Check                                                                               93.00    1,501 ,612.34
07t31117      5137
                                                            cA DHCS M EDI-CAL TRN* 1*050480990+ 1580217                  46,591.15                       1,548,203.49
07t31117                Deposit
                        Deposit                             KATSER FOU N DATIO TRN
                                                                                            *
                                                                                                1*000002500037912*   1    10,540.00                      1,558,743.49
07131117
08t01t17      51   08   Perry   Lightfoot                   Check                                                                               s0.00    1,558,693.49

 08to1117     5143      Perry   Lightfoot                   Check                                                                               50.00    '1
                                                                                                                                                          ,558,643.49
 08101117     5214      Newport Therapies,    lnc.          Check                                                                         1,790.00       1,556,853.49

 08101117               Honda                               HONDA PMTAHFC PMT688006834411 SHIRL                                                457.01    1,556,396.48
 08101t17               Deposit                             Regular DePosit                                               30,358.23                      1,586,754.71

08to1l'17               Deposit                                 KAISER FOUNDATIO TRN*1+0000025000381'77*1                  9,920.00                      1,596,674.71

 08t02117     517   1   Newport Therapies,    lnc.          Check - physical and occupational patient therapy                           46,034.10        1,550,640.61
 08102117               Deposit                                 KAISER FOUNDATIO TRN+1+000002500038590*1                  14,880.00                      1,565,520.61
 o8103117               Fees                                AUTHNETGATEWAY BILLING 97798141                                                       7.95   1    ,565,512.66
 o8103117     5138      Jerold Kram                         Check                                                                         1,000.00       1,564,512.66
 08t03t17     5157      Airgas USA, LLC                     Check                                                                         1,076.51       1,563,436.15
 08t03t17     5',173     PNC Equipment Finance, LLC Check                                                                                      505.0'l   '1
                                                                                                                                                              ,562,931.'14
 08t03t17     5178       Marina     Mechanical         Check                                                                                   493.94    1,562,437.20
 08t03t17     5'193      Republic lndemnity Company of Check - 8th of 9 insallment                                                       22,230.80       1,540,206.40
 08t03t17     5209       Shirley Ma                    Check - expense reimbursement                                                      9,010.52       1,531 ,195.88
 08t03117     5212       Shirley Ma                             Check                                                                          737.74    1,530,458.14
 08t03117                Fees                                   MERCHANT BANKCD INTERCHNG 266005295883                                         142.78    1,530,315.36
 08t03t17                Fees                                   MERCHANT BANKCD FEE 256005295883 BAY                                            43.51    1,530,271.85
 08t03117                Deposit                                MERCHANT BANKCD DEPOSIT 26600s295883                         804.00                      1,531,075.85
 08t03t17                Fees                                   MERCHANT BANKCD D|SCOUNT255005295883                                            41.83    1,531,034.O2
 08t04117     5161       Community Mobile Diagnostics lrCheck - June xrays                                                                1,257.84       1,529,776.18
 08t04t17     5162       DATASAFE,     lnc.             Check                                                                                  126.00    1    ,529,650.1 8
 08104t17     5164       Diagnostic Laboratories SL     Check - June2017 Lab                                                              3,544.03       1    ,526,1 06.1 5
 08t04t17     51   67             lnc
                         Health Net                             Check - 080117-090117                                                          418.24    1,525,687.91
 08t04t17     5172       Pharmerica                             Check - inv dt   lolL4ll6                                                      100.79    1,525,587.12
 08t04t17     5175       RDs for Healthcare                     Check - monthly menus                                                           96.98    1,525,490.14
 08104117     5176       Schrader's Medical Supply    lnc       Check                                                                     6,664.29       I ,518,825.85
 08104117     5177                        LLC
                         Smartlinx Solutions                    Check                                                                          857.60    1    ,517,968.25
 08t04117     51 81                  California
                         Blue Shield of                         Check - 080117 Chau                                                            427.22    1,517,541.O3
 08104117     51 89                Sr.
                         Larrie Noble                           Check - music 07/21117                                                          50.00    1,517,491 .O3
 08t04117     5192              PC
                         Polsinelli                             Check - FILE O82LOO-494L17                                                     930.00    1,516,561 .03
 08t04117     5'194     Sysco San Francisco, lnc.               Check-JU12017                                                             5,281.62       1,511,279.41
 08t04t17     5203      Pharmerica                              Check - 071417SPapa                                                            173.73    1,51 1,105.68
 08t04t17     5205      Waste Management of Alameda Check - 10-18980-73000                                                                     624.96    1,510,480.72
 08t04117     5206      WILLKANE                    Check - refund for res. Earl Kane                                                     '1
                                                                                                                                               ,304.00   1,509,176.72
 o8t04t17                Deposit                                KAISER FOUNDATIO      TRN*1*000002500038821*1              8,680.00                      1,517,856.72
 08t04t17                Deposit                                MERCHANT BANKCD DEPOSIT 266005295883                       2,425.00                      1,520,281 .72
 08t07t17     51   58   AllKleen Solutions    LLC           Check - inv dt04/L7/L7                                                        2,391.83       1 ,517,889.89

 08107t17     51   63   Dept of Health Care   Services      Check - 2017.06.30                                                           38,981.80       1,478,908.09
 08t07t17     5t66      Gregory O. Lawson, Assistant Tr Check - 2076-2017 supp 1851                                                         944.57       1,477,963.52
 08t07117     51   68   JDS MedWaste   Mgmt.            Check - June2017                                                                  1,935.00       1,476,028.52
 08t07t17     5170      Kaiser Permanente               Check - 071017                                                                          86.00    1,475,942.52
 08t07t17     5179      Kaiser Permanente                   Check                                                                              432.36    1,475,510.16
 08t07t17     5200      AT & T                              Check                                                                             36.29      1,475,473.87
 08107t17     5211      Kaiser Permanente                   Check                                                                         'l,209.44      1,474,264.43
 08t07t17     5213      Samir Sairam MD, lnc                Check - July 2017                                                             1,000.00       1,473,264.43
 08to7117               Deposit                             CA DHCS MEDI-CALTRN+1*050489755*1680217                      295,407.46                      '1
                                                                                                                                                              ,768,67"t.89
o8t07t17                Deposit                             MERCHANT BANKCD DEPOSTT 266005295883                             250.00                      'l
                                                                                                                                                          ,768,921.89
08t08t17      51   59   American Healthtech, lnc            Check                                                                              989.03    1,767,932.86
08108t17      5174      Public Storage                      Check                                                                              127.00    '1
                                                                                                                                                          ,767,805.86
08t08117      51 91     Neofunds by Neopost                 Check                                                                              250.00    1,767,555.86
08t08t17      51   95   Taylor Houseman                     Check                                                                               62.1 0   1,767,493.76
08108117      51   96   Advance Textile                     Check                                                                              834.49    1,766,659.27
08t08t17      5201      EBMUD                               Check                                                                              736.55    1,765,922.72


                                                                 Summit Bank - Operating Account x8013
                      Case 3:17-cv-00223-RS Summit
                                              Document       246 Account
                                                   Bank - Operating Filedx8013
                                                                           10/17/17 Page 50 of 58
                                                                                     Deposit Withdrawal

            5202      Perfect Promotions & More,    lnc    Check                                                              485.1   I   1,765,437.53
08/08/1 7
                                                                                                                              438.09      1,764,999.44
08to8117    5210         Ma
                      Elisa                                check
                                                                                                          19,220.00                       1,784,219.44
08108t17              Deposit                              KAISER FOUNDATIO    TRN*1*000002500039434+1
                                                                                                         196,241 .40                      1,980,460.84
0Bl09l17              Deposit                              KAISER FOUNDATIO TRN*1*000002500039675*1
                                                                                                           1,500.00                       1,981,960.84
08/09/'17             Deposit                              MERCHANT BANKCD DEPOSIT 266005295883
                                                                                                                                4.95      1,981,955.89
o8111t17              Fees
                                                Corp       Check                                                         1,079.53         1,980,876.36
08t11117    51 99     Americas Life Insurance
                                                                                                                         1,125.00         1,979,751 .36
08t11117    5217      Hebah   A)ryad                       Check - consulting
                                                                                                                                          I ,973,1 37.36
o8111117    5219      Liberty Mutual lnsurance             Check - renewal effective 7129117                             6,614.00
                                                                                                                                          1,972,979.O2
                      Marie Martinez
                                                                                                                           't 58.34
o8111t17    5227                                           Check
                                                           Telephone transfer                                          235,208.20         1,737,770.82
o8111117
                      IRS                                  IRS USATAXPYMT 270762393791686 COMPREHEN                        283.43         1,737,487.35
o8111117
                      EDD                                  EMPLOYMENT DEVEL EDD EFTPMT 154834816                               20.95      1,737,466.44
08111117
o&t14117    5215      Evergreen lnternational Group,   L   Check                                                         3,306.83         1   ,734,1 59.61

08t14117    5216              Club
                      Harbor Bay                           Check                                                           363.00         1,733,796.61

08114117    5218              RN
                      Judy Wong                            Check - 41 .5 hrs                                             2,075.00         1,731 ,721.61

ogl14117    5222      PETTY CASH                           Check                                                              167.99      1,731 ,553.62

ogt14t17    5223      Sysco San Francisco,   Inc.          Check - July & August 2017                                     1,765.56        1,729,788.06
08114117    5224      Toshiba Financial    Services    Check                                                                  341.34      1,729,446.72
08114117    5237      Kaiser Foundation Health Plan lr Check                                                            56,549.07         1,672,897.65
08t14117              Transfer                         Transfer to DDA 120040472                                       235,208.00         1,437,689.65
08t14117              Transfer                             Transfer from OOA '120040472                  235,208.00                       1,672,897.65
08114117              Deposit                              Regular Deposit                               148,247.08                       1,821 ,144.73

o8114117              Deposit                              CA DHCS MEDI-CAL TRN.1-050498253.1680217      174,693.76                       1,995,838.49
08t14t17              Deposit                              KAISER FOUNDATIO TRN.1-000002500040378-1          206.00                       1,996,044.49
08t15t17    5226      Waste Management of Alameda Check                                                                   5,062.84        1,990,981.65
ogl15l17    5230      AllKleen Solutions   LLC    Check                                                                   1,611.28        1,989,370.37
o8115117    5232      EBMUD                                ChECK                                                          5,054.79        1,984,315.58
08t16t17              IRS                                  Payroll Taxes                                                88,668.63         1,895,646.95
08116117              EDD                                  Payroll Taxes                                                13,691 .74        1,881 ,955.21
ogt16t17    5225      TPx Communications              Check                                                                   930.78      1,881 ,O24.43
08t16t17    5234      HD Supply Facilities Maintenano Check                                                                   223.47      1,880,800.96
08116117    5236      Jackson    Data                 Check                                                                   147.01      1,880,653.95
08t16t17    5239      Network Therapies,    lnc.      Check                                                             13,305.90         1,867,348.05
08116117    5240      Sonic.net,   lnc.                    Check                                                          1,172.75        1   ,866,1 75.30
08t16t17    5241      Sysco San Francisco,   lnc.          Check                                                          2,599.46        1,863,575.84
08116117    5245      PG&E                                 Check                                                          9,603.92        1,853,971.92
08t16t17              Deposit                              KAISER FOUNDATIO TRN.1-000002500040945-1       27,050.00                       1,881 ,021.92
08117117    5228      Rodney M. Fukumilsu                  Check - Landscape and Garden Services                              450.00      1,880,571 .92
08t17 t17   5243      YP                                   Check                                                                37.00     1,880,534.92
08t18117    5169      Jerold Kram                          Check                                                          1,000.00        1,879,534.92
08t18117    5229      Ability Networks, lnc.               Check - 070117-073117                                              194.00      1,879,340.92
08118t17              IRS                                  IRS USATAXPYMT 270763000339918 COMPREHEN                       1   ,917.5"1    1,877,423.41
08t21117    51   90   Marie Martinez                       Check                                                              '134.00     1,877,289.41
08t21t17    5220      Marie Martinez                       Check                                                              134.00      1,877,155.41
08t21t17    5238      Marina Mechanical                    Check - A,/C sensor service and labor 8/10                         609.25      1,876,546.16
08t21117              Deposit                              CA DHCS MEDI-CAL TRN.1.050506899-1680217      362,227.33                       2,238,773.49
08122117    5033      American Express x2006               Check                                                        22,618.70         2,216,154.79
08t22117    5231      Ameritas Life lnsurance   Corp.      Check - Aug2017                                                1,006.58        2,215,148.21
08122117              Deposit                              Regular Deposit                                87,385.52                       2,302,533.73
08t22117              Deposit                              KAISER FOUNDATIO TRN-1.000002500041905-1        5,580.00                       2,308,113.73
08t23117    5221      Perry Lightfoot                      Check                                                                50.00     2,308,063.73
08123t17              Deposit                              KAISER FOUNDATIO TRN-1-000002500042392-1       18,600.00                       2,326,663.73
08t24t17              Transfer                         Telephone transfer                                              231,486.14         2,095,177.59
08125117              Deposit                          MERCHANT BANKCD DEPOSIT 266005295883                  400.00                       2,095,577.59
08t28t17    5254      Kaiser Foundation Health Plan lr Check                                                            41,721.05         2,053,856.54
08t28117    5263      American Express     x2006       Check                                                            88,991.25         1,964,865.29
08t28t17    5264      American     Healthtech, lnc         Check                                                           989.03         1,963,876.26
08128117    5277      Republic lndemnity Company     of Check                                                           22,230.80         1,941,645.46
08128117              Loan Payment     x9386               40      1019215                                              '12,501 .85       1,929.143.61
08t28t17              Deposit                              MERCHANT BANKCD DEPOSIT 266005295883              500.00                       1,929,643.61
08t29t17    5248      AllKleen Solutions   LLC             Check                                                              659.54      1,928,984.07


                                                             Summit Bank - Operating Account x8013
                   Case 3:17-cv-00223-RS Summit
                                           Document       246 Account
                                                Bank - Operating Filedx8013
                                                                        10/17/17 Page 51 of 58
                                                                                            Withdrawal                                        Ru


                                                         Check                                                               1,216.18    1,927,767 .89
o8129117    5250   Evergreen lnternational Group,   L
                                                                                                                               650.00    1.927,117.89
08t29117    5253   lnternationalFireEquipment            Check
08129117    5260   Sysco San Francisco,   lnc.           Check                                                               2,574.67    1,924,543.22
                                LLC                      Check                                                                 514.48    1.s24,02b.74
08129117    5262   Airgas USA,
08129117    5267   DATASAFE,    INC.                     ChCCK                                                                  84.00    1,923,944.74

08t29117    5280   ShirleyMa                             Check                                                               2,243.86    1,921,700.88
08t29117    5282   Smartlinx Solutions   LLC             Check                                                                 857.60    1,920,843.28

08t29117           Deposit                               KAISER FOUNDATIO TRN-1-000002500042911.1       20,220.O0                        1,941,063.28
08129117           Honda                                 HONDA PMT 8002058235 660036074802 SHI                                 457.01    1,940,606.27
o8,t30117   5259   PETTY CASH                            Check                                                                 559.27    1,940,047.00
08t30117    5268   Diagnostic Laboratories   SL          Check                                                               2,597.29    1,937,449.71

o8130117    5269   Direct Supplylnc                      Check                                                                  94.71    1,937,355.00
oBt30t17    5270   JDS MedWaste Mgmt.                    Check                                                               1,925.00    1,935,430.00
08130117    5272   Kaiser Permanente                     Check                                                                  86.00    1,935,344.00
08t30117    5273   Larrie Noble Sr.                      Check                                                                  50.00    1,935,294.00
08t30117    5274   Network Therapies, lnc.               Check                                                              39,142.30    1,896,151.70
ogt30t17    5275   PNC Equipment Finance,    LLC         Check                                                                 505.01    1,895,646.69
08130117    5276   RDs for Healthcare                    Check                                                                  96.98    1,895,549.71
o8t30117    5279   Schrader's Med Supply                 Check                                                               6,783.57    '1
                                                                                                                                          ,888,766.14
08t30t17    5285                     lnc.
                   Sysco San Francisco,                  Check                                                               2,260.31    1,886,505.83
08t30t17    5286   Kaiser Permanente                     Check                                                                 365.74    1,886,140.09
08130t17           Deposit                               Regular Deposit                                14,815.00                        1,900,955.09
08t30t17           IRS                                   IRS USATAXPYMT 270764282524380 COMPREHEN                           86,820.87    1,814,134.22
08130117           Deposit                               KAISER FOUNDATIO TRN-1"000002500043177"1   1   29,'1   1   0.00                 1,943,244.22
08t30t17           EDD                                   EMPLOYMENT DEVEL EDD EFTPMT 1281824640                             13,283.49    1,929,960.73
08131117    5251   Health Net lnc                        Check                                                                 418.24    1,929,542.49
o8t31t17    5258   Perry Lightfoot                       Check                                                                  50.00    1,929,492.49
08131117    5283   Dept of Health Care   Services        Check                                                              40,162.10    1,889,330.39
08131117           Deposit                               MERCHANT BANKCD DEPOSIT 266005295883               804.00                       1,890,134.39
09to1t17    5266   Community Mobile Diagnostics     lr   Check - 8321358 xray                                                2,337.91    1,887,796.48
09t01t17    5281   SimpleLTC,  lnc.                      Check                                                                  82.00    1,887,7',t4.48
09t01t17           Deposit                               MERCHANT BANKCD DEPOSIT 266005295883               450.00                       1,888,164.48
09105117    5244   Kaiser Permanente                     Check                                                                 365.74    1,887,798.74
09t05117    5284   Judy Wong RN                          Check - 7.31 .2017 35.50 hrs                                        1,775.00    'r,886,023.74
09t05t17           Fees                                  MERCHANT BANKCD FEE 266005295883 BAY                                   51 .15   1,885,972.59
09105117           Deposit                               CA DHCS MEDI-CAL TRN-1'050523576-168O217   158,420.33                           2,044,392.92
09t05t17           Fees                                  MERCHANT BANKCD INTERCHNG 266005295883                                 37.13    2,044,355.79
09t05t17           Deposit                               KAISER FOUNDATIO TRN-1-000002500043987-1        3,785.25                        2,048,141.04
09105117           Fees                                  MERCHANT BANKCD DISCOUNT 266005295883                                  29.04    2,048,112.00
09t05t17           Deposit                               KAISER FOUNDATIO TRN"1"000002500044194-1        2,111.50                        2,050,223.50
09t05117           FeeS                                  AUTHNET GATEWAY BILLING 98305793                                        7.95    2,O50,215.55
09106117    5249   DIRECTV                               Check                                                                 108.82    2,050,106.73
09t06117    5271   Jerrold Kram                          Check - August 20't7                                                1,000.00    2,049,106.73
09i06/17           Transfer                              Telephone transfer                                                237,353.15    1,811,753.58
09/06/1 7          IRS                                   IRS USATAXPYMT 270764994223775 COMPREHEN                               87.58    1,811,666.00
09t06t17           EDD                                   EMPLOYMENT DEVEL EDD EFTPMT 19529'19424                                 5.79    1,81 1,660.21
09t07 t17   5255   Michael Chau                          Check                                                               1,399.37    'l
                                                                                                                                          ,810,260.84
09to7t17           Deposit                               KAISER FOUNDATIO TRN.1-000002500044408-1        9,920.00                        1,820,'r80.84
09107117           Fees                                  PAYMENT SERVICE BILLINGFEE CKF218443508P                                4.95    1,820,175.89
09t08117    5256   Omega Pest Control, lnc.              Check - dos 072817                                                     75.00    1,820,100.89
09t08117    5278   Samir Sairam MD, lnc                  Check - August 2017                                                 1,000.00    1,819,100.89
09t08t17    5293   Bay Area Healthcare Center            Check - resident trust                                                100.00    I ,819,000.89
09t08t17    5312   PETTY CASH                            Check                                                               2,862.64    1,816,138.25
09t08t17           Deposit                               Regular Deposit                            202,633.08                           2,018,771.33
09108t17           Deposit                               MERCHANT BANKCD DEPOSIT 266005295883            1,400.00                        2,020,171.33
09t11t17    s160   Carmela Mazzella                      Check                                                               6,450.00    2,013,721.33
09t11t17    5265   Carmela Mazzella                      Check - 073117                                                      9,600.00    2,004,121.33
09111117    5290   Airgas USA, LLC                       Check                                                                278.98     2,003,842.35
09t11t17    5308   Queenie Guen                          Check                                                                577.11     2,003,265.24
ogt11t17           Deposit                               MERCHANT BANKCD DEPOSIT 266005295883            1,100.00                        2,004,365.24
09t12t17    5292   Bay Alarm Company                     Check                                                                 153.00    2,004,212.24
09t12117    5302   Hill-Rom                              Check                                                                323.52     2,003,888.72


                                                          Summit Bank - Operating Account x8013
                        Case 3:17-cv-00223-RS Summit
                                                Document       246 Account
                                                     Bank - Operating Filedx8013
                                                                             10/17/17 Page 52 of 58
                                                                                                                                Withdrawal

Bank   Date   RefS
                                                                                                                                                   2,000,136.94
ogt'12t17     5306               Systems
                        Pacific Signaling           Check                                                                          3,75',1.78
                                                                                                                                     951.78        1,999,185.16
09112117      531 0     Tl'sCommunications          Check
                                                                                                                                   6,456.40        1,992,728.76
09t12117      531   1   Waste Management of Alameda Check
ogt't2117     5326      American Express    x2006   Check                                                                         93,590.64        1    ,899,1 38.1 2

                              Ma                    Check                                                                          4,515.78        1,894,622.34
09112t't7     5337      Shirley
                        Deposit                     CA DHCS MEDI-CAL TRN-I-050531880'1680217                     79, 1 65.1 4                      1,973,787.48
09t12117
                        Deposit                     KAISER FOUNDATIO TRN"1-000002500045216.1                     69,750.00                         2,043,s37.48
09t12117
09113117      5287      Dale'sTrucking              Check - cut back (temp asphalt)                                                 1,s00.00       2,042,037.48

09113117      5291      AT & T                              Check                                                                         36.41    2,042,001.07
09113117      5294                           lnc.
                        Bay Janitorial Supply,              Check                                                                   3,444.10       2,038,556.97
09t13117      5295      Blue Shield of California           Check                                                                     427.22       2,O38,129.75

09113117      5296      Briggs Healthcare                   Check                                                                     863.39       2,037,266.36
                        Neopost USA, lnc.                   Check                                                                     '103.08      2,037,163.28
o9l13l'17     5305
09113117      5309      Sysco San Francisco, lnc.           Check                                                                   2,935.17       2,034,228.11
09t13117                Deposit                             KAISER FOUNDATIO TRN-1"000002500045549"'t            17,850.00                         2,052,078.11
09t13t17                IRS                                 IRS USATAXPYMT 270765635253508 COMPREHEN                               90,385.'16      1,96'1    ,692.95
 09t13117               Deposit                             KP FINANCIAL SVC VENDPAYMTS                           2,513.24                         1    ,964,206.1   I
 09113117               EDD                                 EMPLOYMENT DEVEL EDD EFTPMT 2043776896                                 14,235.42       1,949,970.77
 09114117     5298      Department of Healthcare Servic Check                                                                         383.00       1,949,587.77
 091't4117    5303      Kaiser Permanente               Check                                                                         432.36       1,949,'155.41
 09t14t17     5304      Kaiser Permanente                   Check                                                                   1,272.43       1,947,882.98
 o9114117     5328      Bay Area Restaurant      Services   Check                                                                      75.00       't,947,807.98
 09t15117     5297      CA Dept. of Public  Health          Check                                                                  60,010.83       1,887,797.',t5
 ogt15117     5300      Direct Supply  lnc                  Check                                                                     451.22       1,887,345.93
 09t15t17     5324      Airgas USA, LLC                     Check                                                                     319.08       1,887,026.85
 09t15t17     5325      AllKleen Solutions LLC              Check                                                                   1,036.34       1,885,990.51
 09t15t17     5329      Bay Janitorial Supply, lnc.         Check                                                                   2,994.71       1,882,995.80
09t15t't7     5333      Kaiser Foundation Health Plan lr Check                                                                     43,849.63       1,839,146.17
 09t15117     5339      Sysco San Francisco,     lnc.    Check                                                                      2,834.78       1,836,311.39
 09t15117     5341      Zoom lmaging Solutions     lnc   Check                                                                        158.08       1,836,153.31
ogt15t17                Deposit                          MERCHANT BANKCD DEPOSIT 266005295883                        596.00                        1,836,749.31
 ogt18117     5322      Ability Networks, lnc.             Check                                                                      194.00       1,836,555.31
 09118117     5330      Evergreen lnternational Group,   L Check                                                                      1   80.1 0   1,836,375.21
 09t18117     5332      Judy Wong   RN                      Check                                                                   1,500.00       1,834,875.21
 09t18t17     5335      Network Therapies,   lnc.           Check                                                                    3,539.30      1,83'l ,335.91
 09t18t17     5336      Rosi & Wallin                       Check - 2016 MCal Cost Report Prep                                     't2,450.00      1,818,885.91
09t18t17      5338      Sonic.net, lnc.                     Check - 100117-110117                                                   1,172.45       1,817,713.46
 09t18117     5340      Toshiba Financial   Services        Check                                                                     341 .34      1,817,372.12
 09t18117               Deposit                             CA DHCS MEDI-CAL TRN"1-050540228-1680217         273,358.98                            2,090,731 .',t0
 09t18117               Deposit                             KAISER FOUNDATIO TRN"1"0000025000462'13.1            26,350.00                         2,117,O81.10
09t19t17      5323      Advance Textiles                    Check - wash, bath, sheets                                              1,562.79       2,1 1 5,51 8.31
 ogt'tgt17              Transfer                            Transferto DDA 12OMM72                                               237,609.00        1,877,909.31
 09120t17     5327      Ameritas Life lnsurance Corp.       Check - sep20'17                                                        1,044.76       '1
                                                                                                                                                    ,876,864.55
 09t20t17     5342      Franchise Tax Board                 Check - 2016 FTB 3587                                                     880.00       1,875,984.55
09t20t17      5343      Franchise Tax Board                 Check - 2U7 FfB 3522 LLC Tax                                              800.00       1    ,875,1 84.55
09120117                Deposit                             Regular Deposit                                  1   13,1 90.63                        1    ,988,375.1   I
09120117                Deposit                             NORIDIAN   JEA    TRN"1-EFT8629,182-145017       4'17,938.35                           2,406,313.53
09t22t17      5299      Diane Y. Chow, D.P.M                Check                                                                     120.00       2,406,193.53
09t22t17                Deposit                             KATSER FOUNDATTO TRN-'t.000002 500047231,    1        2,480.00                         2,408,673.53
09t25t't7               Deposit                             CA DHCS MEDI-CAL TRN-1-050548513-1680217             30,460.51                         2,439,134.O4
09127t17                Deposit                             NORIDIAN JEA TRN'1-EFT8634976-145017                  8,299.53                         2,447,433.57
09t27117                Harland Clarke                      HARLAND CLARKE CHK ORDERS 18MF6832021150                                      40.73    2,447,392.84
09t28t17      5334      Marie Martinez                      Check-090117partb                                                         134.00       2,447,258.84
09t28117                Loan Payment x9386                  40      1019215                                                        12,501.85       2,434,756.99
09t29t17      5307      Perry Lightfoot                     Check - music entertainmenl 81251 17                                          50.00    2,434,706.99
09t29t17                Deposit                             MERCHANT BANKCD DEPOSIT 266005295883                     300.00                        2,435,006.99
09t29t17                Deposit                             cA DHCS MEDt-CAL TRN-1.050556893-1 68021 7               167.85                        2,435,174.84
                                                                         Current Period Subtotals            872,545.85 274,120.32                 2,435,174.84




                                                             Summit Bank - Operating Account x8013
Comprehensive Care of Oakland,
                              CaseLP 3:17-cv-00223-RS            Document 246 Filed 10/17/17 Page 53 of 58
                                     dba Bay Area Healthcare Center

                                                            Summit Bank - Payroll Account x0472
                                                                                                               Withdrawal          Ru

                   Ref #
                                                        ccoo   PR XX-XXXXXXX     CCOO                             7,700.37            97,096.13
     06t30117                 Payroll Direct Deposits
                              Employee                  Payroll Check                                             2,347.61            94,748.52
     07103117      1321
                              Employee                  Payroll Check                                                  470.14         94,278.38
     07to3117      1323
                        326   Employee                  Payroll Check                                             1,635.72            92,642.66
     07103117      1

                              Employee                  Payroll Check                                                  159.25         92,483.41
     07t03t17      1328
                   1319       Employee                  Payroll Check                                             2,178.00            90,305.41
     07105117
                   1332       Employee                  Payroll Check                                             1,321.26            88,984.'15
     07lo5l17
     07t10117      1211       Employee                  Payroll Check                                             1,241 .73           87,742.42
     07110117      1254       Employee                  Payroll Check                                             1,241.73            86,500.69
     07t10117      1344        Employee                 Payroll Check                                             2,413.78            84,086.9'1

     07t10117                  Direct Deposit Payroll   ccoo PR XX-XXXXXXX ccoo                                 214,612.87        (130,525.96)
     07t10117                 Transfer                  Transfer from DDA 120038013               316,600.00                      186,074.04
     07111117      1354       Employee                  Payroll Check                                             1,232.44        184,841 .60
     07t't1117     1    360   Employee                  Payroll Check                                                  849.77     183,991 .83
     07t'l2l'17    1226        Employee                 Payroll Check                                             1    ,015.07    182,976.76
     07l'l2l'17    1272        Employee                 Payroll Check                                             1    ,015.07    181 ,961 .69

     07112117      1316        Employee                 Payroll Check                                                   915.58    181,046.11
     07t12117      1357        Employee                 Payroll Check                                             1,114.56        179,931.55
     07t12t17      1    361    Employee                 Payroll Check                                                  976.42     178,955.1 3
     07t12t17      1    363    Employee                 Payroll Check                                               933.52         178,021.61
     07t12t17      '1364       Employee                 Payroll Check                                             1,832.65        1   76,1 88.96
     07t12t17      1    365    Employee                 Payroll Check                                             1,254.55        174.934.41
     07t12117      1    366    Employee                 Payroll Check                                             'l   ,683.1 0    173,251.31
     07t12117      1    367    Employee                 Payroll Check                                             1,557.27         171,694.04
     07t14t17           356    Employee                 Payroll Check                                                  128.03     '17"t
                   1                                                                                                                       ,566.01
     07114117      1    359    Employee                 Payroll Check                                             1,0't2.22       170,553.79
     07t14117                  Direct Deposit Payroll   ccoo   PR XX-XXXXXXX     CCOO                             2,211.21        168,342.58
     07114117                  Direct Deposit Payroll   ccoo   PR XX-XXXXXXX     CCOO                                  911.31      167,431 .27
     07117117      1297        Employee                 Payroll Check                                             1,241.73        1   66,1 89.54
     07t't7t17     '1345       Employee                 Payroll Check                                             1,241 .73        164,947.81
     07117t17      1    358    Employee                 Payroll Check                                             2,087.80        162,860.01
     07t17117      1362        Employee                 Payroll Check                                             1,241.73        't61,618.28
     07t20117                  Direct Deposit Payroll   ccoo   PR   XX-XXXXXXX   CCOO                                  972.72     160,645.56
     07t21t17      1    340   Employee                  Payroll Check                                                  499.59     160,145.97
     07t21t17                 Transfer                  Transfer to DDA 120038013                               105,000.00            55,145.97
     07t2',U',t7              Transfer                  Transfer from DDA 120038013               245,000.00                      300,145.97
     07125t'17     '1
                        131    Employee                 Payroll Check                                             1    ,316.54    298,829.43
     07t25t17                  Direct Deposit Payroll   ccoo   PR   XX-XXXXXXX   CCOO                           235,832.60            62,996.83
     07 t25117                 Direct Deposit Payroll   ccoo   PR   XX-XXXXXXX   CCOO                             1,913.27            61,083.56
     07t26t17      1    369    Employee                 Payroll Check                                             1,129.81            59,953.75
     07126117      1378        Employee                 Payroll Check                                             1    ,816.92        58,1 36.83
     07t27t17      1371        Employee                 Payroll Check                                                  591 .41        57,545.42
     07t27t17      1372        Employee                 Payroll Check                                             1,015.07            56,530.35
     07t27t17      1377        Employee                 Payroll Check                                               971.89            55,558.46
     07t28t17      1    373    Employee                 Payroll Check                                             1,095.80            54,462.66
     07128117      1375        Employee                 Payroll Check                                                  809.24         53,653.42
     081o1117      1368        Employee                 Payroll Check                                             2,085.99            51,567.43
     08t02t17      1355        Employee                 Payroll Check                                                  468.23         51,099.20
     08t02t17      1370        Employee                 Payroll Check                                                  468.23         50,630.97
     08108117                  Direct Deposit Payroll   ccoo   PR XX-XXXXXXX     CCOO                                  268.64         50,362.33
     08/09/1 7     1389        Employee                 Payroll Check                                                  800.53         49,561.80
     08116t17      'l 199 Employee                      Payroll Check                                                  423.20         49,138.60
     08t11t17      1338 Employee                        Payroll Check                                                  984.47         48,154.13
     08111t17      1390 Employee                        Payroll Check                                             1,335.07            46,819.06
     08111117      1391 Employee                        Payroll Check                                             1    ,210.95        45,608.11
     ogt11t17      '1394      Employee                  Payroll Check                                             'l
                                                                                                                       ,095.80        44,512.31
     o8111117      1396       Employee                  Payroll Check                                                  945.O7       43,567.24
     08t11t17                 Direct Deposit Payroll    ccoo   PR XX-XXXXXXX     UUUU                           226,677.80        (18s,110.56)
     081't'U't7               Transfer                  Telephone transfer                        235,208,20                          52,097.64
     ogt14t17      1242       Employee                  Payroll Check                                                  423.20         51,674.44

                                                           Summit Bank - Payroll Account xO472
                       Case 3:17-cv-00223-RS Summit
                                              Document       246Account
                                                    Bank - Payroll  Filed   10/17/17 Page 54 of 58
                                                                        x0472
                                                                                                            Withdrawal           Ru



                       Employee                 Payroll Check                                                   1,077 .48        50,596.96
08114117     1   393
             '1399     Employee                 Payroll Check                                                   1,131.08          49,465.88
08114117
                                                Transfer to DDA 120038013                                    235,208.00         (185,742.12)
08t141',17             Transfer
                       Transfer                 Transfer from DDA 120038013                   235,208.00                         49,465.88
08114117
o8,t15117    1024      Employee                 Payroll Check                                                       614.17        48,851.71

08t15117     1239      Employee                 Payroll Check                                                       445.44        48,406.27
ogt15117     1249      Employee                 Payroll Check                                                       423.20       47,983.07

08t17117     1397      Employee                 Payroll Check                                                       106.09       47,876.98
08t24t17               Transfer                 Telephone transfer                            23't,486.14                       279,363.12
08t25t17               Direct Deposit Payroll   ccoo PR XX-XXXXXXX          CCOO                             226,673.76           52,689.36
08t28t17     1374      Employee                 Payroll Check                                                       146.32        s2,543.04
08t28117     1392      Employee                 Payroll Check                                                        96.12        52,446.92
08t28117     1   395   Employee                 Payroll Check                                                       29',t.0'l     52,155.91
08t28t17     1400      Employee                 Payroll Check                                                   1,053.20          51 ,102.71

08128t17     1401      Employee                 Payroll Check                                                       982.57        50,120.14
08t28117     1403      Employee                 Payroll Check                                                       928.64        49,191.50
08129117     1402      Employee                 Payroll Check                                                       246.91        48,944.59
09101117               Direct Deposit Payroll   ccoo PR XX-XXXXXXX          CCOO                                    320.01        48,624.58
09/06/1 7              Transfer                 Telephone transfer                            237,353.15                        285,977.73
09t08117               Direct Deposit Payroll   ccoo PR XX-XXXXXXX          ccoo                             230,068.86           55,908.87
ost11l17     1376      Employee                 Payroll Check                                                  1,241.73           54,667.14
09t11t17     1   398   Employee                 Payroll Check                                                   1,241.73          53,425.41
09111117     1406      Employee                 Payroll Check                                                   1,268.27          52,157.14
ogt11117     1407      Employee                 Payroll Check                                                   1,130.91          s|,026.23
09t11t17     1408      Employee                 Payroll Check                                                   1   ,586.1 0      49,440.13
09t11t17     1410      Employee                 Payroll Check                                                   1,012.22          48,427.91
09t13t17     1409      Employee                 Payroll Check                                                       475.54        47,952.37
09t15117     1404      Employee                 Payroll Check                                                       359.33        47,593.04
09t19t17               Transfer                 Transferfiom DDA      120038013               237,609.00      -   285,202.04
09t25t17     1412      Employee                 Payroll   Check                                    -      423.20 284,778.84
09t25t17               Direct Deposit Payroll   ccoo      PR   XX-XXXXXXX   CCOO                   -   229,561.20 55,217.64
09t26117     1405      Employee                 Payroll Check                                      -     1,241.73 53,975.91
09t26117     1413      Employee                 Payroll Check                                      -     1,241.73 52,734.18
09t26t't7    1414      Employee                 Payroll Check                                      -     1,268.27 51,465.91
09t26117     1417      Employee                 Payroll Check                                      -      761 .26  50,704.65
09t26117     1418      Employee                 Payroll Check                                      -     1,095.80 49,608.85
09t28t17     1415      Employee                 Payroll Check                                      -     1,130.91 48,477.94
                                                                  Current Period Subtotals    237,609.00 236,724.10               48,477.94

                                                                                             1,738,464.49   1,787,082.68
                                                                                              105,000.00     105,000.00
                                                                                               235,208.00    235,208.OO
                                                                                             1,398,256.49   1,446,874.68




                                                   Summit Bank - Payroll Account x0472
                       Case LP
Comprehensive Care of Oakland, 3:17-cv-00223-RS           Document
                                 dba Bay Area Healthcare Center       246 Filed 10/17/17 Page 55 of 58

                                                      Summit Bank - Savings Account x4297
                                                                                                          Withdrawal

    os/3Llt7                                      Beginning Balance as ol 5/31/2017                                     52,013.11
           .7          Transfer ln                Transfer from Summit x7429                 t98,702.44                250,115.55
           .7          Summit Bank                Interest                                        18.01
    09l30/L7           Summit Bank                lnterest Deposit                                45.23                250,178.79
                                                                  Current Period Subtotals        45.23                25O,L78.79




                                                 Summit Bank - Savings Account x4297
                        Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 56 of 58
             STANDARDIZED FUND ACCOUNTING REPORT for SFRC-Cash Basis
             Receivership Civil Court Case No. 3:17-cv-00223-RS
                       Period      1to                 2017

FUND ACCOUNTING (See lnstructions):
                                                                                                                     Reference
       1                   Balance (As of July 1,20171                                                        0.00

             lncreases in Fund Balance:
       2     Business lncome
Line 3             and Securities-Adjustments to A/R and O/S                              226.74   226.74                1


Line 4       lnteresuDividend lncome
Line 5       Business Asset Liquidation
Line 6       Personal Asset Liquidation
Line 7                   Litigation lncome
Line I       Miscellaneous - Other
               Total Funds Available (Lines 1 - 8):                                       226.74   226.71   226.74

             Decreases in Fund Balance:
Line 9       Disbursements to lnvestors
Line'10      Disbursements for Receivership Operations
Line   10a   Disbursernents to Receiver or Other Professionals
Line   10b   Busrness Asset Expenses
Line   10c   Pe rson al Asset Expenses
Line   10d   lnvestment Expenses
Line 10e     Th ird-Party Litigation Ex pe n se s
                  1. Attorney Fees
                  2. Litigation Expenses
               Total
Line 1U      Tax Administrator Fees and Bonds
Line 109     Federal and State Tax Payments


Line   11    Disbursements for Distribution Expenses Paid by the Fund:
Line 11a        Distibution Plan Development Expenses:
                 1. Fees:
                         Fund Administrator..
                         lndependent Distribution Consultant (lDC).
                         Distribution Agent...
                         Consultants... ... ... ..
                         Legal Advisers.. . . .. ... ... .
                                                         .


                         Tax Advisers-.. ..
                 2. Administrative Expenses
                 3. Miscellaneous


       11b      Di   stib ution Pl a n   Im   ple me   ntation   Ex pe   n   se   s   :
                 1. Fees:
                         Fund Administrator....................
                         tDc..................
                         Distribution Agent..
                         Consultants..........
                         Legal Advisers......
                        Tax Advisers... ... ..,
                 2. Administrative Expenses
                 3. lnveslor ldentification:
                         Notice/Publishing Approved Plan.
                        Clarmant ldentification..... .....
                        Claims ProcessinS
                        Web Site Maintenance/Call Center... ................
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. Federal Account for lnvestor Restitution
                 (FAIR) Reporting Expenses



       't2                        to CourUOther:
       12a      lnvestment Expenses/Coud Registry lnvestment
                    (CR/S) Fees
       12b      Federal Tax Payments
              Total Disbursements to CourUOther:
              Total Funds Disbursed (Lines 9 - 1l)                                                            0.00
       13           Balance (As of September 30, 2017):                                                     226.74
                     Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 57 of 58
Line 14
Line 14a     Cash & Cash Equivalents                                                                             226.74            226.74
Line 14b      lnvestments
Line 14c     OlherAssets or Uncleared Funds
            Total Ending Balance of Fund - Net Assets                                                            226.74            226.74           22d74


OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                             Subtotal        Grand Total
           Repoi of ltems NOT To Be Paid by the Fund:
Line'15    Disbursements for Plan Administration Expenses Not Paid by the Fund:
Line 15a      Plan Development Expenses Not Paid by the Fund:
                1.   Fees:
                      FundAdministrator..........                              ..                         I




                      tDc....      ....   ....                                                            I




                    DistributionAgent...............                                                      I




                    Consultants.......                                                                    I




                    Legal Advisers...
                                                                                                          I




                    Tax Advisers......
                                                                                                          I




               2. Administrative Expenses
                                                                                                          I




               3. Miscellaneous
                                                                                                          I

                                                                                                          I


               Total Plan

Line 15b      Plan lmplementation Expenses Not Paid by the Fund:
                1. Fees:
                      Fund Administrator...      . .   .   . .   .   ..   ..
                      tDC..................
                     Distribution Agent.....
                     Consultants... ... .
                     Legal Advisers...
                     Tax Advisers... .. .
               2. Administrative Expenses
               3. I nvestor ldentifi cation:
                     Notice/Publishing Approved P|an........................
                     Claimant ldentification......
                     Claims Processins
                     Web Site Maintenance/Call Center... ... .. . ....                       ... ......
               4. Fund Administrator Bond
               5. Miscellaneous
               6. FAIR Reporting Expenses
                                                                                                     the Fund
Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund
                                                                                                                Not Paid     the Fund
Line 16    Disbursements to CourUOther Not Paid by the Fund:
Line 16a      lnvestment ExpenseVCRlS                            Fees                                     I
Line 16b      Federal Tax      Payments                                                                   I

            Total Disbursements to CourUOther
Line 17    DG & State Tax

Line 18    No. of Claims:
Line 18a      # of Claims Received This Reporting                                   Peiod................
Line 18b      # of Claims Received Since lnception of Fund..............
Line 19    No. of Claimants/lnvestors:
Line 19a      # of Claimants/lnvestors Paid This Reporting Period.....
Line 19b      # of Claimants/lnvestors Paid Since lnception of Fund. ..



   Ref
    #                                         Item                                                            Amount                        Notes
                and securities                                                                                             Turnover from BHD LLC.




                                                                                                                                                    u'/A<
                                                                                                                             Receiver


                                                                                                                       d       G
                      Case 3:17-cv-00223-RS Document 246 Filed 10/17/17 Page 58 of 58
                                          SAN FRANCISCO REGIONAL CENTER
                                                Susan L. Uecker, Receiver
                                                      Balance Sheet
                                                    September 30,2017

                                                         ASSETS

Current Assets
Checking - Boston Private            $             226.74

Total Current Assets                                                     226.74

Property and Equipment

Total Property and Equipment                                               0.00

Other Assets

Total Other Assets                                                         0.00

Total Assets                                                $            226.74




                                               LIABILITIES AND CAPITAL

Current Liabilities

Total Current Liabilities                                                  0.00

Long-Term Liabilities

Total Long-Term Liabilities                                                0.00

Total Liabilities                                                          0.00

Capital
Turnover - Tesh LLC                  $             226.74
Net Income                                           0.00

Total Capital                                                            226.74

Total Liabilities & Capital                                 $           226.14




                                         Unaudited - For Management Purposes Only
